Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1887    Page 1 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        1

    1                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
    2                               SOUTHERN DIVISION
                                        _ _ _
    3
          UNITED STATES OF AMERICA,
    4
                        Plaintiff,
    5
            vs.                                       Case No. 17-20595
    6
          YOUSEF RAMADAN,                             Hon. Marianne O. Battani
    7
                     Defendant.
    8    _______________________________/
    9                    EVIDENTIARY HEARING/MOTION FOR BOND
   10                 BEFORE THE HONORABLE MARIANNE O. BATTANI
                            United States District Judge
   11                  Theodore Levin United States Courthouse
                            231 West Lafayette Boulevard
   12                             Detroit, Michigan
                               Tuesday, July 10, 2018
   13
   14    APPEARANCES:
   15     For the Plaintiff:           RONALD W. WATERSTREET
                                       MICHAEL M. MARTIN
   16                                  HANK MOON
                                       U.S. Attorney's Office
   17                                  211 W. Fort Street, Suite 2001
                                       Detroit, MI 48226
   18                                  (313) 226-9100
   19     For the Defendant:           ANDREW DENSEMO
                                       COLLEEN P. FITZHARRIS
   20                                  Federal Defender Office
                                       613 Abbott, 5th Floor
   21                                  Detroit, MI 48226
                                       (313) 967-5555
   22
          Also Present:                Elias Younes, Interpreter
   23
   24         To obtain a copy of this official transcript, contact:
                     Robert L. Smith, Official Court Reporter
   25              (313) 234-2612 • rob_smith@mied.uscourts.gov


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1888    Page 2 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                         2

    1                                 TABLE OF CONTENTS
    2    WITNESSES:                                                           PAGE
    3    (No witnesses called)
    4
    5
    6
    7
    8
    9
         EXHIBITS:                                                            RECEIVED
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1889    Page 3 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        3

    1      Detroit, Michigan
    2      Tuesday, July 10, 2018
    3      at about 1:06 p.m.
    4                                      _     _    _
    5                (Court, Counsel and Defendant present.)
    6                THE CASE MANAGER: Please rise.
    7                The United States District Court for the Eastern
    8    District of Michigan is now in session, the Honorable
    9    Marianne O. Battani presiding.
   10                You may be seated.
   11                The Court calls Case No. 17-cr-20595, United States
   12    of America vs. Ramadan.
   13                THE COURT: All right. Just one minute, please.
   14    May I have your appearances, please?
   15                MR. MARTIN: Good afternoon, Your Honor.
   16    Michael Martin, Ronald Waterstreet, and Hank Moon for the
   17    government. And with us today is Darlene Secord, our
   18    paralegal, and FBI Special Agent John Brant.
   19                MR. DENSEMO: Andrew Densemo on behalf of
   20    Mr. Ramadan, Your Honor.
   21                MS. FITZHARRIS: Colleen Fitzharris on behalf of
   22    Mr. Ramadan.
   23                THE COURT: All right. We have an interpreter?
   24                THE INTERPRETER: Yes, Your Honor.
   25                THE COURT: Okay. Would you please give your name


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1890    Page 4 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        4

    1    to the reporter.
    2                THE INTERPRETER: Elias Younes, E-L-I-A-S,
    3    Y-O-U-N-E-S.
    4                THE COURT: Would you swear in the interpreter,
    5    please, Jim.
    6                THE CASE MANAGER: Do you solemnly swear that you
    7    will interpret accurately and completely from the Arabic
    8    language to the English language and English to Arabic using
    9    your best skill and judgment?
   10                THE INTERPRETER: I will.
   11                THE COURT: All right. We have a motion by
   12    defense, so you may proceed.
   13                MR. DENSEMO: Your Honor, today was the date and
   14    time set for oral argument on the motions that have been
   15    filed. We are asking the Court to adjourn those oral
   16    argument because of the additional discovery that had been --
   17    that has been provided to defense on June 28th.
   18                As the Court's well aware, the defense has been
   19    pressing the government to provide all of the discovery to
   20    which it is entitled for the past several months. There has
   21    been a continuing issue regarding the FBI -- regarding the
   22    agents, all of the agents, the FBI agents, Homeland Security
   23    agents, CBP officers, the communications that they were all
   24    engaged in around the time of the initial investigation of
   25    this case in August 15th, 2017. The defense has always


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1891    Page 5 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        5

    1    believed that there were multiple communications that were
    2    sent back and forth between the agents as they communicated
    3    about the Ramadan investigation.
    4                We were given discovery by the government. Upon
    5    reviewing that discovery we surmised that there had to be
    6    additional communications between the officers based upon the
    7    nature of what was being stated in the e-mails and the text
    8    messages, and so we pursued this and we indicated to the
    9    government there has to be more -- there are other additional
   10    e-mails, there are additional text messages that these agents
   11    generated because you can tell from the responses in the text
   12    messages and the e-mails themselves. The government insisted
   13    that, no, we have given you everything. And we filed motion
   14    after motion because we were convinced that there were other
   15    e-mails involved in this case, other text messages, and the
   16    government still insisted that there weren't.
   17                It was only after the Court ordered the government
   18    to look further that the government found additional e-mails.
   19    And when we received those e-mails we indicated to the
   20    government, look, look at the e-mails that you sent us, look
   21    at the test messages that you sent us, these messages are all
   22    responsive e-mails. They are asking for other responses.
   23    And clearly there are -- there's additional information that
   24    you haven't provided.
   25                The government again insisted in open court that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1892    Page 6 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        6

    1    there weren't any -- there wasn't any additional information,
    2    that they had given the defense everything. That then had
    3    conducted a thorough investigation and that they weren't
    4    aware or apprised of any additional e-mails or text messages
    5    that had sent. And at our last hearing the Court again aided
    6    the defense and said, look again, see if there is anything
    7    else there. And lo and behold we get this last set of
    8    e-mails again from the agents discussing at length the
    9    Ramadan case.
   10                And what really surprised us, Your Honor, is
   11    despite the government's protestations to the contrary, not
   12    only were there a number of additional e-mails about the
   13    Ramadan investigation, I think the Court was cc'd on the
   14    June 28th, 2018 letter. And I don't know if the Court --
   15                THE COURT: I have it.
   16                MR. DENSEMO: -- received the attachments.
   17                THE COURT: I did.
   18                MR. DENSEMO: The Court probably saw, as I did --
   19    initially I paid no attention to it, and then co-counsel
   20    Ms. Fitzharris indicated to me that Michael Martin's name is
   21    on -- is cc'd in these e-mails, as well as Jonathan Tukel,
   22    who used to be, I believe, the head of the U.S. Attorney's
   23    Office Counterterrorism Unit. So these e-mails which
   24    contained the names of the U.S. Attorneys have been in the
   25    possession of the U.S. Attorney's Office and these federal


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1893    Page 7 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        7

    1    agents some from as late of August of 2017, August 21st, I
    2    believe, 2017, or thereabouts. So the government can't claim
    3    as they have in the past that they were unaware of any
    4    e-mails involving the Ramadan investigation or any additional
    5    e-mails that were sent and received by the agents in this
    6    case because they participated in the e-mails. They were
    7    cc'd on the e-mails. They knew about them. They were aware
    8    of all of these e-mails that were sent.
    9                These agents testified on the stand that they had
   10    provided all of the e-mails, that they were unaware of any
   11    additional e-mails. The government indicated time and time
   12    again there isn't anything else, we have looked, Judge, we
   13    are tired of looking. And it was only because a federal
   14    judge told them to keep looking that they kept looking and
   15    they kept digging, they kept providing additional
   16    information.
   17                Judge, if you hadn't intervened we wouldn't have
   18    gotten any of this stuff. We would have been told -- we
   19    would have been stonewalled like we have been stonewalled
   20    throughout the past nine months.
   21                And the e-mails that we've gotten, Judge, are
   22    redacted to the point where we don't know what's in those
   23    e-mails. We want complete information. We won't complete
   24    unredacted e-mails. I sent the U.S. Attorney's Office an
   25    e-mail telling them to send us complete information, give us


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1894    Page 8 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        8

    1    complete information, unredacted information. The
    2    government's response was well, that's privileged
    3    information, you don't need to see that, that's not Jencks.
    4                At this point in time, Judge, I don't trust
    5    anything that these prosecutors and these agents are telling
    6    me about this investigation because I have had to go to the
    7    Court too many times to get the discovery that we are
    8    entitled to. I have had to go to the Court too many times to
    9    get accurate information. And now I'm looking at page after
   10    page of redacted e-mails, some of these redactions take up
   11    half the page, and I'm supposed to believe it is unimportant,
   12    that it doesn't relate to this investigation, that I'm
   13    supposed to trust the government who says, oh, we've reviewed
   14    it and you can trust us, it has nothing to do with any of
   15    this.
   16                My intent -- Mr. Ramadan has not received effective
   17    assistance of counsel because we have not been given the
   18    information that he needs his attorneys to have in order to
   19    effectively represent him either this in terms of
   20    consultation with him, advice, or after the hearings that
   21    been conducted -- the multiple hearings that have been
   22    conducted. All of this information should have -- all of
   23    this is relevant information that went to the heart of the
   24    suppression issues that we were discussing with the Court,
   25    that we were asking the Court to litigate, and we time and


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1895    Page 9 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        9

    1    time again we either get it late or we don't get it at all,
    2    and we don't know at this point what else is out there.
    3                My intent, Judge, is to file a motion to dismiss
    4    this case based upon outrageous government conduct. We have
    5    looked at the transcripts. These agents have, in my view,
    6    committed perjury. They have lied about their investigation.
    7    They have indicated -- they have committed falsehoods before
    8    the -- on the witness stand. And to the U.S. Attorneys, I
    9    don't know, but what I do know is I have gone through the
   10    transcripts and these agents have said things under oath that
   11    were not true, and their e-mails bear it out, the e-mails
   12    that they were reluctant to turn over to the government.
   13                Co-counsel, Ms. Fitzharris has spent hours -- spent
   14    her vacation days preparing the supplemental brief in this
   15    case. That brief was prepared and filed I believe either a
   16    day before or a day after we received this additional
   17    information. That brief probably should not have been filed
   18    without this additional information because there's valuable
   19    information in these e-mails that should have been included
   20    in the supplemental brief, but because of the delay in
   21    providing it to the defense it was not included.
   22                So, again, Mr. Ramadan hasn't gotten the best
   23    counsel -- the best legal representation he should have
   24    gotten because of the government's -- because of the dilatory
   25    manner in which we have been dealt with in this case, and, in


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1896    Page 10 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        10

     1    fact, probably, you know, the disrespectful manner in which
     2    we have been dealt with in this case, Your Honor. We
     3    shouldn't have to come hat in hand to the Court every time
     4    begging the Court to make them do what they are supposed to
     5    do. We shouldn't have to say, oh, you only respect
     6    Judge Battani, you don't respect us, so you are not going to
     7    give us anything until Judge Battani tells you to. And as a
     8    result, we have not been able to effectively represent this
     9    man because of all of the things -- Judge, you know we filed
   10     motion after motion after motion in this case, and it is
   11     because we are trying to do our jobs properly, and we haven't
   12     been able to do that because of the manner in which this
   13     prosecution has been handled.
   14                At this point, Judge, we would be even more
   15     effective -- ineffective if we were to proceed to oral
   16     argument in this case based upon the posture of this case
   17     right now.
   18                The government offered to bring in Agent Brown to
   19     testify about his e-mails, but this goes beyond Brown, Your
   20     Honor. This involves everybody; Armentrout, Schmeltz,
   21     Thomas, Kelley, every agent -- all of these e-mails relate to
   22     all of these agents. We would have had to start from the
   23     beginning, and they wanted to just bring in Brown. This goes
   24     beyond -- this would be a monumental undertaking, Your Honor,
   25     to go back and start this thing all over again, which is


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1897    Page 11 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        11

     1    probably what is required at this point.
     2               THE COURT: Okay. Let's hear what the government
     3    has to say. Mr. Waterstreet.
     4               MR. WATERSTREET: Yes. Thank you, Your Honor.
     5               Your Honor, if the Court recalls at the last
     6    suppression hearing the Court asked for me to check to see if
     7    there were any e-mails concerning agent -- Officer Brown, and
     8    I promised the Court that I would do that. After reviewing
     9    the materials I came across three e-mails that were not
   10     previously provided, and they were part of the packet that I
   11     provided to defense counsel. One of them was an e-mail
   12     from --
   13                THE COURT: Which one? Let me see.
   14                MR. WATERSTREET: This would be from James Brown.
   15                THE COURT: Okay. August 24th?
   16                MR. WATERSTREET: This is the one of August 23rd,
   17     Your Honor, which says when he was asked what the name of the
   18     subject was it was Yousef Ramadan.
   19                THE COURT: Wait a minute. Wait a second. I want
   20     to find it.
   21                MR. WATERSTREET: I will hand it up.
   22                THE COURT: I have it here. I've got it, it was
   23     just out of order.
   24                MR. WATERSTREET: The second one --
   25                THE COURT: What is the subject's name? Okay.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1898    Page 12 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        12

     1    This is of no import.
     2                MR. WATERSTREET: Correct.
     3                MR. DENSEMO: Excuse me, Judge. I don't mean to
     4    interrupt but --
     5                THE COURT: Yes.
     6                MR. DENSEMO: Your Honor, would the Court mind if
     7    one of Mr. Ramadan's wrists were uncuffed so he could take
     8    notes?
     9                THE COURT: All right. That would be fine.
   10                 MR. DENSEMO: Thank you, Judge.
   11                 MR. WATERSTREET: The second one, which was
   12     provided, was an e-mail of what passport was the defendant
   13     using, and the answer is, he was using his U.S. passport.
   14     And that one is one that is dated August 28th, which is
   15     several days after the incident but they are talking about
   16     the incident.
   17                 The third one is an e-mail that starts -- that's
   18     dated August 24th, and it starts off, just a quick note about
   19     the case.
   20                 THE COURT: Just one minute while I find that,
   21     please.
   22                 MR. WATERSTREET: I have a copy for the Court.
   23                 THE COURT: Okay.
   24                 MR. WATERSTREET: And the Court will note that I
   25     highlighted it in a particular way, and I will give counsel a


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1899    Page 13 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        13

     1    copy as well.
     2               And this is -- this is an e-mail which is a cut and
     3    paste from Schmeltz's report, that was provided to defense
     4    back in August of 2017. And if the Court will note by
     5    looking at the report of Officer Schmeltz and comparing that
     6    to the e-mail of Officer Brown, you can see what paragraphs
     7    he cut and pasted from that report to update his supervisor
     8    as to what events took place on August 24th according to
     9    Officer Schmeltz.
   10                So if the Court will note, the first paragraph,
   11     which I have marked as A in the e-mail, you will find that
   12     same paragraph word for word appearing in the same
   13     highlighted marked area as A in the -- in the report of
   14     Officer Schmeltz.
   15                If we go to the next paragraph of Officer Brown's
   16     e-mail, we will see what I have marked as paragraph B. Go to
   17     Officer Schmeltz's report and you will find the same words
   18     word for word in paragraph B.
   19                If we move now to paragraph C of Officer Brown's
   20     report, we will see what I have marked as paragraph C from
   21     Officer Schmeltz's report word for word taken and lifted from
   22     that report.
   23                And the same thing goes for paragraph D.
   24                So, Your Honor, from this -- from this e-mail that
   25     defense says they have not been able to prepare and not been


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1900    Page 14 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        14

     1    able to give advice, the only new information they have is,
     2    "Sir, just a quick note about the case", and then the last
     3    sentence is, "Thank you for your support. CBP is a main
     4    player in this case."
     5               They have certainly known the subject's name
     6    Mr. Ramadan, and they have certainly known that he is -- he
     7    flew on a U.S. Passport because that was part of the report
     8    that was provided back in August of last year. So I believe
     9    counsel may be overstating the import of these documents that
   10     were provided.
   11                Defense is correct, they've made a lot of requests
   12     of this Court to provide what they term is discovery. Each
   13     and every time we have filed a response, and the Court has
   14     determined they are not entitled to the items they are
   15     requesting. What we are talking about right now is Jencks
   16     material, simply straightforward statements made by the
   17     witness who testified that are subject matter of their
   18     testimony.
   19                When finding these documents we handed them over,
   20     and we even made the offer to have Officer Brown available to
   21     testify to clear up these important new findings of the
   22     defendant's name and that he traveled under a passport --
   23     U.S. Passport. All the other information -- when I said
   24     somewhat tongue and cheek about the defendant's name and that
   25     he traveled under U.S. Passport, is all the information they


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1901    Page 15 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        15

     1    had from the very beginning of this case, long before this
     2    case was even indicted they have had this information.
     3               THE COURT: Okay. How about these other documents?
     4               MR. WATERSTREET: As to these other documents, Your
     5    Honor, several of these statements we believe are not
     6    discoverable in any way, shape or form, but we provided to
     7    them out of an abundance of caution.
     8               For example, if the Court will recall part of the
     9    delay in this matter was that the defense wanted to call
   10     Officer Brown and Agent Thomas to testify. As part of that
   11     process of giving -- having federal agents testify on their
   12     behalf, they had to file what is call a Touhy letter, and in
   13     that Touhy letter defense outlined under a sworn statement in
   14     an affidavit the subject matter of their testimony. And we
   15     went over that subject matter of their testimony and looked
   16     at it very closely, and based upon what defense counsel said
   17     they were going to ask them questions about, we provided all
   18     of necessary Jencks material to counsel so that they would be
   19     able to cross-examine -- or do a direct examination and the
   20     Court gave them permission to do a cross-examination to be
   21     able to challenge them on any statements that were the
   22     subject matter of the areas they said they were going to ask
   23     them about.
   24                In the process of providing the testimony, defense
   25     counsel went beyond what he promised and swore that he would


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1902    Page 16 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        16

     1    only ask questions about and went into other matters, and
     2    those other matters had to do with the defendant's sister,
     3    and that was beyond the scope of the Touhy information.
     4               But we went back, we looked over any e-mails, any
     5    conversations whatsoever that had to do with the defendant's
     6    sister, and we provided those additional documents. So this
     7    was as a result of what defense counsel did, it certainly
     8    wasn't anything that the government did.
     9               Some of the other documents were some documents --
   10     if I may take it a step back, Your Honor. As a result of
   11     going through Officer Brown's and finding those three
   12     e-mails, we made a concerted effort to go through and start
   13     the process anew. We went to their legal counsel, we went to
   14     their supervisors, we went to the officers and the agents
   15     themselves, and had the process start all over again because
   16     we did not want to be in this situation where we are right
   17     now where defense counsel is making claims saying we are
   18     trying to hide anything.
   19                So after this full review once again we came across
   20     a set of three reports that were issued as a result of the
   21     events that took place in August of last year when the
   22     defendant was at the secondary inspection. Those reports --
   23     and if the Court wishes I could go over those in the same
   24     manner I went over Officer Brown's, one is a review of media
   25     report and the other is a seizure report. And effectively,


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1903    Page 17 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        17

     1    Your Honor, it is the same document that was provided back in
     2    August 29th, 2017 to defense counsel, it is the same
     3    information but just put in a slightly different format. The
     4    items that were seized, the items that we reviewed, it's the
     5    same factual statements based upon the report of
     6    Officer Schmeltz back in August of 2017 that was provided to
     7    defense counsel.
     8               We told defense counsel if there were any questions
     9    to please let us know, and we provided that information to
   10     them. And in response to Mr. Densemo's request, we pointed
   11     out that some of the redacted materials that he was
   12     requesting were not Jencks material because they are
   13     questions or statements of somebody else asking a question.
   14     And some of these --
   15                THE COURT: The statements of what? I'm sorry.
   16                MR. WATERSTREET: These are not Jencks materials
   17     because they are -- let me take for an example, I write an
   18     e-mail to you and I ask you what time did you get home. My
   19     question to you is not a Jencks because it's the answer that
   20     you give because you are the person who is making the
   21     statement, and you say I got home at 12:00 noon. That is the
   22     material that is not necessarily discoverable under Rule 16
   23     but it is the Jencks Act material.
   24                And so when counsel's suggesting that we are
   25     improperly redacting items, there are some certain items that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1904    Page 18 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        18

     1    were taking place several days after this event when we were
     2    trying to get search warrants where all -- attorneys from our
     3    office were asking questions about, you know, did you talk to
     4    so-and-so, did you see so-and-so, and so we are giving the
     5    answers back, we provided those answers, but not the
     6    attorney-client privileged information that was going on
     7    between the U.S. Attorney's Office and the agents.
     8               So these are statements that were -- are of people
     9    who are not even witnesses in the case that have been
   10     redacted. They touch upon subsequent events which were not
   11     subject of the witness's testimony, and is personal
   12     information such as phone number, e-mail addresses, record
   13     numbers.
   14                And, Your Honor, we can solve this problem very
   15     quickly since the Court is the trier of fact in this case,
   16     the determinative of whether to believe the witnesses or not,
   17     we can provide to this Court a copy of the unredacted e-mails
   18     that have been provided to defense counsel for the Court to
   19     decide is this something that is so important that it is, in
   20     fact, Jencks material, the Court can decide that.
   21                But, Your Honor, based upon our reading of the
   22     statements, our understanding of the law, these items are not
   23     subject under the Jencks Act. And we have tried to go above
   24     and beyond to try to avoid this problem. And to try to
   25     prevent any further delay we asked counsel -- we told counsel


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1905    Page 19 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        19

     1    we will have agent -- excuse me, Officer Brown available if
     2    they want to cross-examine him, and we have him available
     3    now. And in the abundance of caution we have every single
     4    witness that is subject to anything that has been provided
     5    concerning any Jencks material available as well because we
     6    want to put this matter to rest.
     7               THE COURT: What they are saying is they don't
     8    believe you as to what has been redacted.
     9               MR. WATERSTREET: I understand that, and I will
   10     give the Court the unredacted copies.
   11                THE COURT: I do want the unredacted copies.
   12                MR. WATERSTREET: Hopefully the Court will see what
   13     I have just pointed out. These are statements of people who
   14     are not witnesses, they touch upon events that were not
   15     subject to the witness's testimony, and is like personal
   16     information such as phone numbers, e-mail addresses, record
   17     ID numbers and things like that.
   18                THE COURT: Okay. I will review these, and I guess
   19     we will have to set another date after I review them.
   20                MR. WATERSTREET: And --
   21                THE COURT: Which I hate to delay this but --
   22                MR. WATERSTREET: I agree, Your Honor. I
   23     understand -- I don't want any error in this record at all,
   24     but I want the Court to be mindful of the fact that we have
   25     been doing our best to provide everything here. There are --


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1906    Page 20 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        20

     1    those three documents, Your Honor, I will take full
     2    responsibility for those three documents from Officer Brown.
     3    Those are on my shoulder and my shoulder alone. Those items
     4    were on a disk that was misplaced in my office, I moved
     5    offices twice during the pendency of this case. And I tore
     6    my office apart as well as an old office on another locker
     7    area and ended up finding that disk, and that's where we
     8    ended up with those three additional -- three additional
     9    e-mails.
   10                THE COURT: Well, let me just say as to the
   11     unredacted copies, maybe I can just take a minute and look at
   12     them right now.
   13                MR. WATERSTREET: Okay.
   14                THE COURT: As to the first, which is the letter
   15     from - yes, from August 24th from Mr. Brown?
   16                MR. WATERSTREET: Yes, Your Honor.
   17                THE COURT: And it is the bottom paragraph.
   18     Basically it only lists the items that were taken from the
   19     storage locker.
   20                MR. WATERSTREET: Correct, Your Honor.
   21                THE COURT: Which defendant knows.
   22                MR. WATERSTREET: Which defendant knew and were not
   23     subject of any of this hearing because it was the events that
   24     took place --
   25                THE COURT: Okay. The Court is not going to have


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1907    Page 21 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        21

     1    you give that, there is no need, it is information that he
     2    knows.
     3                Okay. What's the next -- okay. You will have to
     4    advise me, is this -- is there redacted material or is this
     5    just the way it is copied?
     6                MR. WATERSTREET: That's just the way it is, Your
     7    Honor. That's a text message.
     8                The next one is from one dated August the 16th.
     9    And if the Court will look at the bottom of that page, it is
   10     the office and cellphone number of the officer that was
   11     removed.
   12                 THE COURT: I can't seen find it. Hold on.
   13                 MR. WATERSTREET: It was the one right after the
   14     text message, Your Honor.
   15                 THE COURT: Okay. Excuse me one second. I'm
   16     sorry. I'm not used to working here and I can't quite get
   17     comfortable. It is keeps falling off. Okay. The next one
   18     is August the 16th.
   19                 MR. WATERSTREET: If we take a look at this
   20     e-mail --
   21                 THE COURT: Pardon me?
   22                 MR. WATERSTREET: If we take a look at this e-mail
   23     from Michael -- -
   24                 THE COURT: Wait a minute. I'm still having a hard
   25     time finding where this e-mail is.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1908    Page 22 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        22

     1               MR. WATERSTREET: Okay.
     2               THE COURT: Got it.
     3               MR. WATERSTREET: If the Court will take a look at
     4    this, this is again -- I can show the Court again, this is
     5    nothing more than a cut and paste from the report of
     6    Officer Schmeltz saying how many hard drives Mr. Ramadan was
     7    providing. If the court wishes I can --
     8               THE COURT: Let me just state for the record what I
     9    see here crossed out, I'm going back now to the August 16th
   10     ones, are identifying like e-mail addresses.
   11                MR. WATERSTREET: E-mail addresses, telephone
   12     numbers, yes, Your Honor.
   13                THE COURT: That's true on August 16th. Now we get
   14     to a bigger one, which is September 1st. Let me find that.
   15                MR. WATERSTREET: And those are his classified
   16     e-mail addresses, Your Honor.
   17                THE COURT: How would you classify what is on
   18     9/1/17, page 1, on the bottom?
   19                MR. WATERSTREET: Just give me a second to try to
   20     find that one.
   21                THE COURT: It was just a question of the --
   22     regarding the passports.
   23                MR. WATERSTREET: 9/1/17, this is a -- this is not
   24     Jencks material because this is a question of somebody else,
   25     so this would not be a statement of Agent Thomas, Your Honor.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1909    Page 23 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        23

     1               THE COURT: And the statement of the person who
     2    wrote this as to what they are interested in, that would not
     3    be Jencks material?
     4               MR. WATERSTREET: Correct. The answer that was
     5    given, which is at the top, that is not redacted in any way,
     6    shape or form, is the statement --
     7               THE COURT: Right, and it does answer it exactly.
     8               MR. WATERSTREET: Correct.
     9               THE COURT: All right. Thank you. So that does
   10     not come in.
   11                The next one is dated August 21st.
   12                MR. WATERSTREET: Correct.
   13                THE COURT: That's just the names and telephone
   14     numbers and the question and the answers given exactly, so
   15     that doesn't come in.
   16                MR. WATERSTREET: Correct.
   17                THE COURT: Another August 21st, that whole middle
   18     part is names and e-mails addresses, et cetera, telephone
   19     numbers, so that doesn't come in. Then the bottom part of
   20     the next page -- Mr. Densemo, are you following where I am?
   21                MR. DENSEMO: Yes, Your Honor, I am.
   22                THE COURT: Again, these are just lists of one
   23     question, which is on the top answered, and then the others
   24     they are just names and e-mail addresses.
   25                The next page is November 1st, the top part again


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1910    Page 24 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        24

     1    is the telephone number, e-mail addresses, e-mail addresses,
     2    e-mail addresses, so that's fine. The next one is simply a
     3    continuation of that.
     4               Okay. Now, I am up to where it says on a sidenote
     5    in the middle and down below. Let me read that.
     6               MR. WATERSTREET: And that actually has to do with
     7    something that's totally unrelated to this case, Your Honor,
     8    which was --
     9               THE COURT: Oh, something about a Dodge, et cetera.
   10     It has nothing to does with this.
   11                MR. WATERSTREET: Correct.
   12                THE COURT: Okay. That doesn't come in. Okay.
   13                MR. WATERSTREET: So all of the --
   14                THE COURT: The next page is just -- there is one
   15     blackout and that's just an ID number.
   16                MR. WATERSTREET: Correct, Your Honor.
   17                THE COURT: Is there anything else blacked out on
   18     these pages?
   19                MR. WATERSTREET: I don't believe so but I will go
   20     through each page. Not until page 10, which is the date of
   21     birth of Jeanine Ramadan, the dates of births of the
   22     defendant's children because --
   23                THE COURT: Okay.
   24                MR. WATERSTREET: And then -- then there's -- on
   25     the two-page document there's the one redaction, and it is


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1911    Page 25 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        25

     1    the encounter number that was assigned.
     2               THE COURT: Okay.
     3               MR. WATERSTREET: So --
     4               THE COURT: That's all I see.
     5               MR. WATERSTREET: Right. And so based upon defense
     6    counsel's statement is the -- he could not move forward or
     7    give advice to his client based upon the redacted
     8    information, as the Court sees there's really nothing of any
     9    moment in any of that redacted information that would have
   10     prevented him from giving the advice that he's given his
   11     client all along.
   12                THE COURT: All right. I agree from what I see,
   13     and there is nothing new added here, and even though these
   14     documents were not turned over there has been an explanation,
   15     there's nothing wrong with this.
   16                MR. DENSEMO: Your Honor, there's other information
   17     besides -- that's contained within the e-mails themselves
   18     that the defense is talking about. For instance, in the
   19     document that's entitled Special Agent Kelley sent the text
   20     message dated August 15th, screen shot, this document, Your
   21     Honor, this is a document clearly that we should have gotten
   22     along time ago, and it is important because it goes to a
   23     number of things that the suppression issue talked about.
   24     What was nature of the investigation? Was this a routine
   25     export investigation? When did the investigation start?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1912    Page 26 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        26

     1    When were you aware of it? What -- who were you
     2    communicating with?
     3               Look at the last sentence -- well, let's look at
     4    entire text message, Judge. It starts with here now, so
     5    clearly to my mind someone is communicating with Kelley
     6    asking him are you at the airport? Where are you? What's
     7    your ETA? Where are you going? And Kelley responds here
     8    now. So clearly there has to be another message that
     9    preceded this one.
   10                And then Kelley says CBP is going to seize body
   11     armor, plates, Taser, going to interview wife and subject
   12     with FBI Thomas. Both are United States citizens.
   13                And here's what's really important, Judge. The
   14     plan so far is for Thomas to forward the results to the
   15     Israelis after we're done.
   16                So this is -- had we seen this, had we had this at
   17     the time, we could have cross-examined Kelley about this very
   18     important text message because it goes to a number of issues
   19     that this Court will have to decide in this case, but because
   20     we didn't have it we weren't able to bring this out, we
   21     weren't able to effectively cross-examine Kelley to show the
   22     Court, look, Judge, we are right, this was -- this is more
   23     than just a simple export violation from Kelley's own text
   24     messages to Thomas or Brown, whomever, says that this is way
   25     bigger than export violation. They are talking about


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1913    Page 27 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        27

     1    contacting the Israeli government about the results of their
     2    conversation with Mr. Ramadan.
     3               So clearly had we had this text message and the
     4    other information -- this are other information in these
     5    e-mails, Judge, where these agents contradict the things that
     6    they said on the stand. There is a text message which
     7    contradicted what Brown said about Mr. Ramadan being
     8    restrained. There could be text messages the contradict
     9    Armentrout and Schmeltz about Mr. Ramadan being cooperative
   10     throughout the investigation. I remember very clearly these
   11     agents making those statements, but these text messages --
   12     these e-mails and text messages clearly refute and rebut
   13     those statements. We should have had those things because
   14     these are very important cross-examination tools that we
   15     didn't get until the hearings were over and these men's --
   16     these men were off the witness stand. So there is more here
   17     than just the redacted statements, there's meat on this
   18     bone -- these bones, Judge, and we should have gotten those
   19     things a long time ago.
   20                THE COURT: All right. So you want to
   21     cross-examine these witnesses?
   22                MR. DENSEMO: Judge, I do not want to reopen this
   23     entire case. I want you to dismiss it based upon my legal
   24     theory that there has been outrageous government conduct,
   25     that there has been -- that perjury has been committed.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1914    Page 28 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        28

     1               THE COURT: My question right now is do you want to
     2    cross-examine these witnesses so we proceed today?
     3               MR. DENSEMO: Judge, I don't think that we can
     4    proceed today. Ms. Fitzharris has a hearing at 3:00.
     5               THE COURT: But you are here.
     6               MR. DENSEMO: Yes, I am here, Judge. I had not
     7    prepared a cross examination -- a list of cross-examination
     8    questions for all much these witnesses, Your Honor, no, I did
     9    not come here prepared for reopen all of the
   10     cross-examination. I came here to tell the Court what I
   11     would like to do, and what I would like to do is to complain
   12     to the Court about the conduct of this investigation, the
   13     nature of this investigation, this prosecution, and why I
   14     believe the Court should seriously consider dismissing the
   15     charges because I do believe that there has been outrageous
   16     governmental conduct that has lead to the ineffective
   17     assistance of counsel throughout these proceedings, and I
   18     want to be able to present that in a formal motion to the
   19     Court. That's what my plan was, not to come here and reopen
   20     this entire testimony of all of these various witnesses.
   21                THE COURT: And if that motion is denied, do you
   22     want to cross-examine these witnesses?
   23                MR. DENSEMO: Yes. We are going to ask for a
   24     number of different things. We are going to ask the Court to
   25     strike the testimony, we are going ask the for an adverse


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1915    Page 29 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        29

     1    inference if the Court denies the motion. So there will were
     2    a number of things that we were going to ask for in this
     3    motion.
     4               THE COURT: Okay. Mr. Waterstreet.
     5               MR. WATERSTREET: Your Honor, I don't think there's
     6    a need to reopen the entire event. There is a distinct -- a
     7    discrete statement about -- that certainly does not come as a
     8    surprise I hope to counsel that Agent Kelley arrived at the
     9    airport, because he testified to that. That he's -- that
   10     they were going seize the items. Those items were, in fact,
   11     seized. They are going to interview the wife and Thomas, and
   12     he testified that that's what was -- they were going to do.
   13                THE COURT: The first question was that text
   14     message that he raised.
   15                MR. WATERSTREET: That's what I'm talking about,
   16     the text message, Your Honor.
   17                THE COURT: Well, it says, here now. What is he
   18     responding to?
   19                MR. WATERSTREET: Well, it could be a phone call,
   20     Your Honor.
   21                THE COURT: Well, it could be but without asking we
   22     don't know.
   23                MR. WATERSTREET: Well, that's true, Your Honor,
   24     but I think he testified that he got a phone call and was
   25     told to go, but I will leave that to the Court's memory and


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1916    Page 30 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        30

     1    to the transcript.
     2               But this does not need to reopen the entire event
     3    as counsel suggested. They are discrete areas, Your Honor,
     4    and apparently the only grave issue is we're going to forward
     5    the results to the Israelis. Well, he was going to Israel,
     6    and he was going to Israel with body armor, body armor
     7    plates, Tasers and things of that nature. So I don't think
     8    that that would be all that much of a shock, and I'm not sure
     9    the Court is shocked to find that out. But since the Court
   10     is the trier of fact, you could -- you could read these
   11     things and make whatever adverse or decision you make based
   12     upon these e-mails, or we can have these witnesses come back
   13     and have defense counsel cross-examine them. We are find
   14     with both of those -- those alternatives, Your Honor, but it
   15     certainly does not require restarting --
   16                THE COURT: Let me just ask one more question so
   17     that I can be clear, and that is if these e-mails even though
   18     that -- you know, they didn't contain anything new, the ones
   19     that we've talked about, but they weren't turned over because
   20     they just weren't found or they were from different people,
   21     what?
   22                MR. WATERSTREET: They just weren't found, Your
   23     Honor. And as I said, there were some e-mails provided to
   24     me, especially the ones for Officer Brown, that were put on a
   25     disk. That disk when I got it way back when, I was unable to


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1917    Page 31 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        31

     1    open it, I put it aside. And I learned about those things
     2    when I finally found that disk again after my two moves and
     3    tearing apart my office and other offices because I want to
     4    make sure that we are complying with everything and we uphold
     5    our responsibility. We cannot make mistakes, Judge. As the
     6    government we are not allowed to make mistakes. We cannot
     7    fail to provide something. I made a mistake, and I apologize
     8    to the Court and I apologize to defense counsel for that, but
     9    the mistake I did make, Your Honor, I don't think goes to the
   10     merits of what this case is about.
   11                THE COURT: Let's me just stop you there. As far
   12     as I know right now, it does not appear that these go
   13     anywhere near the merits because they have the information,
   14     but I don't know what they are going to get from this
   15     cross-examination --
   16                MR. WATERSTREET: I understand.
   17                THE COURT: -- that they want that might tell me
   18     something different --
   19                MR. WATERSTREET: I understand that.
   20                THE COURT: -- that created something that I had no
   21     idea about. So I'm going to let them cross-examine these
   22     witnesses as to the specific issues only in these documents,
   23     so we are not reopening the whole case. I'm going to allow
   24     you to cross-examine on these documents. The Court will
   25     continue this matter for two days. Let me look at the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1918    Page 32 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        32

     1    schedule.
     2                MR. DENSEMO: You said two days or two weeks?
     3                THE COURT: Two days. I don't think this requires
     4    a lot of information but let me just see if I can do it.
     5    Hold on.
     6                THE COURT: July 12th?
     7                MR. DENSEMO: Your Honor, I don't know if we are
     8    going to be able to prepare cross-examination, we want all
     9    the witnesses, Brown, we want everyone brought back,
   10     everyone. We have e-mails from everyone, so we want Thomas,
   11     Brown, Armentrout, Schmeltz, and Kelley.
   12                 MR. WATERSTREET: They are all here.
   13                 THE COURT: Excuse me just a minute. Let's get a
   14     date.
   15                 MR. WATERSTREET: They are all here today as well,
   16     Your Honor, so we will make sure they are here next time as
   17     well.
   18                 THE COURT: Is there anybody you can call today in
   19     the next hour?
   20                 MR. DENSEMO: Judge, I'm not prepared -- I'm into
   21     mentally prepared to call anybody today.
   22                 THE COURT: We don't want that.
   23                 MR. WATERSTREET: Your Honor, as the Court looks
   24     for a date, I'm technically on vacation right now, and I plan
   25     to be on vacation for the rest of this week. Also,


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1919    Page 33 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        33

     1    Ms. Secord is not available in two days. And I'm not
     2    suggesting that we delay this matter any further, I' just --
     3               THE COURT: Let's just see the next date, I see it
     4    is not good for you guys, so let's just go on to --
     5               MR. WATERSTREET: Your Honor, the government is
     6    prepared to move forward in two days. I just brought
     7    Ms. Secord's situation to the Court's attention.
     8               THE COURT: But the defense isn't.
     9               MR. WATERSTREET: Okay.
   10                THE COURT: So we are going to have to go --
   11     defense is asking for how much time?
   12                MS. FITZHARRIS: I mean, I am at a two-week
   13     training from the 15th through the 28th, so I --
   14                THE COURT: And I'm gone in August, so I guess we
   15     will look at September. How about Wednesday, September 12th?
   16                MR. WATERSTREET: That's fine for us.
   17                MR. DENSEMO: What date, Your Honor?
   18                THE COURT: September 12th?
   19                MR. DENSEMO: That's fine.
   20                THE COURT: You sure because I have to cancel other
   21     things so I just want to make sure.
   22                MR. DENSEMO: I will make it work, Judge.
   23                MR. WATERSTREET: What time, Your Honor?
   24                THE COURT: We will start at 10:00, and we will go
   25     until we are done.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1920    Page 34 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        34

     1               MR. WATERSTREET: Your Honor, one of the other
     2    issues that was set for schedule today was the bond --
     3               THE COURT: The bond hearing.
     4               MR. WATERSTREET: -- issue. I assume we can go
     5    forward with that?
     6               THE COURT: Yes, we can. Okay. September 12th at
     7    10:00.
     8               All right. Mr. Densemo or Ms. Fitzharris, who is
     9    going to do.
   10                MR. DENSEMO: Your Honor, I believe the burden is
   11     on the government to prove that there is a presumption in
   12     this case that Mr. Ramadan should be released. I believe the
   13     burden is on the government to show that there is no
   14     conditions or combination of conditions that would reasonable
   15     assure his appearance or the safety of the community.
   16                THE COURT: All right. Mr. Waterstreet or
   17     Mr. Martin, I don't know who is arguing this.
   18                MR. WATERSTREET: Your Honor, we have as part of
   19     our presentations to the Court prepared certain audio
   20     demonstrations and video demonstrations, but I think the
   21     power somehow has been turned off here.
   22                THE COURT: You know, I don't know how to use this
   23     courtroom. I'm very sorry I don't know how this works.
   24                MR. WATERSTREET: Everything was fine this morning.
   25                THE COURT: Is there a switch there? Where is the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1921    Page 35 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        35

     1    screen?
     2               (An off-the-record discussion was held at
     3               2:02 p.m.)
     4               MR. WATERSTREET: I think we are ready to go,
     5    Judge.
     6               THE COURT: I'm sorry, I really am. I just don't
     7    know this system. Can you see it at your table?
     8               THE DEFENDANT: Yes.
     9               MR. WATERSTREET: May I proceed, Your Honor?
   10                THE COURT: You may.
   11                MR. WATERSTREET: Your Honor, I know typically the
   12     bond hearings are conducted by the magistrate judges, and I
   13     apologize if I am saying things the Court already knows, but
   14     there are certain factors under the statute, 18 U.S.C. 3142,
   15     that the Court shall take into account, and they are
   16     enumerated. They are four major areas that the Court -- of
   17     the information that is available to the Court shall take
   18     into consideration in determining whether a bond should be
   19     issued.
   20                One is the nature and circumstances of the offense.
   21     And the statute says whether it is a crime of violence,
   22     terrorism, minor victim, controlled substance, firearm
   23     explosive or destructive device. Your Honor, I believe the
   24     Congress set -- to set these type of cases apart from your
   25     everyday case.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1922    Page 36 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        36

     1               This is, in fact, a firearms case as clearly he's
     2    charged with possession of two firearms with obliterated
     3    serial numbers, and it says that you are supposed to take the
     4    nature and circumstance the crime charged, and then other
     5    circumstances that we have about this is terrorism, and
     6    explosives.
     7               The circumstances in this case there is more than
     8    1,500 ISIS-related video and pictures on devices. Now
     9    defense I imagine may make challenge that number but I
   10     believe they are challenging that number based upon their
   11     limited request from the United States. They only sought the
   12     copy of the five-terabyte disk. There is another device that
   13     was in the defendant's possession that has more than a
   14     thousand -- a thousand or more ISIS related videos and
   15     pictures on that device.
   16                Explosives. I believe in the government's
   17     response, and I'm not going to belabor the point, but found
   18     during the execution of the search warrant at his storage
   19     locker were all of the components to make an explosive. So
   20     of the few items that Congress set apart, we are hitting on
   21     quite a number of them just in this one case alone just by
   22     the charges alone.
   23                And the nature of a firearm with an obliterated
   24     serial number, it is a firearm that cannot be traced, it is a
   25     non-traceable firearm. The question is why would somebody


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1923    Page 37 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        37

     1    want to have a non-traceable firearm? Well, is it stolen?
     2    Was it used in another crime? These are the answers we just
     3    don't know, but it is certainly something that the Court
     4    should take into account in determining whether this person
     5    is a risk of flight or danger to the community.
     6               The weight of the evidence against a person -- and
     7    the courts have been kind of clear about this, it is not how
     8    much evidence and how likely the defendant will be convicted,
     9    but it is the weight of the evidence deals with the factors
   10     to be considered in determining whether there are conditions
   11     which will assure his appearance and the safety of the
   12     community.
   13                Then it suggests that the Court look at the history
   14     and characteristics of the person such as his character,
   15     family ties, his employment, financial resources, length of
   16     residence in the community.
   17                Am I going too fast, Your Honor?
   18                THE COURT: No.
   19                MR. WATERSTREET: Community ties, past conduct,
   20     history relating to drug or alcohol abuse, criminal history,
   21     and the criminal history it is clear that it is not just
   22     limited to criminal convictions but as to arrests or other
   23     criminal conduct. And record of appearing in other court
   24     proceedings. And whether at the time of the current offense
   25     the person was on probation, parole, or other release,


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1924    Page 38 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        38

     1    pending trial, sentencing, appeal, or completion of a
     2    sentencing.
     3               So what Congress has pointed out is it is
     4    importance for the Court to consider if crimes were committed
     5    while under supervision by this particular individual.
     6    Whether under a court supervision he's willing to abide by
     7    court conditions or whether he's willing to ignore the court
     8    conditions and just engage in criminal conduct on his own.
     9               And then the fourth is the nature and seriousness
   10     of danger to any person or community that would be posed by
   11     the person's release.
   12                Now, first I would like to talk a little bit about
   13     his character, past conduct, drug use, and drug dealing.
   14     Your Honor, the defendant's past criminal conduct and his
   15     character, it's clear that he will not abide by court orders.
   16     Now I understand this is defendant's first appearance before
   17     this Court, but it is not his first appearance before a court
   18     which he was placed on probation.
   19                Now, to give the Court a little bit of time period
   20     that we are talking about, it was part of the government's
   21     exhibits which was the sentencing of the defendant on
   22     June 11th, 2015 when the court in his conviction for the
   23     theft of Social Security Administration funds by making false
   24     statements, he was placed on a term of probation for three
   25     years, and that probation started on June 11th, 2015, in


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1925    Page 39 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        39

     1    which if not early terminated would have terminated on
     2    June 10th, 2018, which would have been just last month.
     3               However, because there was a warrant issued against
     4    him and he had to appear in court, and that warrant was
     5    resolved, on June 29th, 2017 he was no longer on probation.
     6               But it's all of his conduct that took place that
     7    while he was on probation and when he was specifically told
     8    by the court that he cannot commit any new offenses, which I
     9    believe is Government's Exhibit 10, which was the sentencing
   10     which he said commit no new crimes, we find out that on
   11     October 5th, 2015, which is just a few months after being
   12     placed on probation, he was involved in stealing a firearm, a
   13     one-of-a-kind firearm, an AR15, while he was working for a
   14     cleaning company. And the Court will -- I believe may recall
   15     that this came up as part of the cross-examination of the
   16     defendant. And if I may bring the Court's attention to
   17     Exhibit Number 11, which are photographs of the defendant
   18     working for Star Carpet Cleaning.
   19                Do you have those? Can you bring those up?
   20                There are two photographs, Your Honor.
   21                THE COURT: One is the Star Carpet's truck picture
   22     and the other is all the cards.
   23                MR. WATERSTREET: Yes -- well, it is circled in
   24     red. I don't know how well your copy can came through.
   25                THE COURT: Okay.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1926    Page 40 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        40

     1                MR. WATERSTREET: But one is his identification
     2    card saying he works for Star Carpet, and another is a
     3    photograph -- a selfie that he took of himself standing in
     4    front of the van that he used for carpet cleaning.
     5                On October 5th, 2015, the defendant, according to
     6    employer records, say that Mr. Ramadan was sole crew at the
     7    victim's house on that day. The victim said that he seemed
     8    rather nervous and left in a hurry. The following day the
     9    victim found that her husband's gun case that contained his
   10     one-of-a-kind AR15 was missing. There was a receipt left
   11     behind. The receipt was left behind by Yousef, the carpet
   12     cleaning person, which would be Yousef Ramadan.
   13                 And the important thing is that those parts for
   14     that unique one-of-a-kind firearm was found in the
   15     defendant's storage locker, and I believe those are Exhibit
   16     Number 6.
   17                 If the Court will notice on Exhibit Number 6, the
   18     first photograph is a photograph that was a picture that was
   19     taken by the owner of the firearm prior to it being stolen.
   20     This was -- as I said, it was a one-of-a-kind firearm. That
   21     it was made by the owner with his friend by putting together
   22     parts from various different gun manufacturers, and that they
   23     also did a one-of-a-kind unique camouflage painting for this.
   24                 So the first photograph is the picture by the
   25     owner. The second photograph, which is a picture by the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1927    Page 41 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        41

     1    owner with a red circle around it, this will bring the
     2    Court's attention to the handle of that particular firearm.
     3    And then the third one is, again, another owner's photo of
     4    the --
     5               THE COURT: Just a minute, Counsel. I just want to
     6    make sure because we have IT here that we can work this.
     7    Will it work?
     8               MS. SECORD: As long as it is on your screen it is
     9    working.
   10                THE COURT: I have nothing on this screen but the
   11     little bar.
   12                MS. SECORD: That's all you should see right now.
   13                THE COURT: Okay. Thanks, Bob.
   14                MR. WATERSTREET: I have the hard copies, if the
   15     Court wishes. We were only going to reserve this for the
   16     videos and the audio presentation.
   17                THE COURT: I'm looking at the hard copies of the
   18     pictures you can talking about now.
   19                MR. WATERSTREET: Thank you, Your Honor. I believe
   20     I'm on the third photograph. It shows the soft-sided case,
   21     as well as circled in the stock portion of firearm. This is
   22     an owner's photo, as well as two of the magazines in the
   23     lower portion of that. Does the Court have that one? Okay.
   24                The search warrants photo, this was the stock that
   25     was recovered from Mr. Ramadan's storage locker.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1928    Page 42 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        42

     1               This next one are side by side photographs, a
     2    comparison of the owner's photo as long with the search
     3    warrant photo, and the Court will notice the unique
     4    camouflage pattern that was painted by the owner of that
     5    firearm. It is very unique to the gun because he came up
     6    with the camouflage design all by himself. The reason I
     7    cannot tell the Court anything more than the camouflage paint
     8    is because the defendant got rid of the portion --
     9               MR. DENSEMO: Objection, Your Honor; calls for
   10     speculation.
   11                THE COURT: Sustained.
   12                MR. WATERSTREET: Well, the firearm that was
   13     recovered did not have the lower receiver portion that has
   14     the number -- the firearm number that's associated with that
   15     particular firearm, but it had all of the other parts, so
   16     that was the only part that was missing, the one that had the
   17     serial number for that particular firearm, but all the other
   18     parts and components for the firearm were found. These were
   19     just to highlight the identification of it.
   20                The next photograph is the side by side comparison
   21     of the stock. Again, you can see the unique paint job. The
   22     color variations is based upon the lighting source when the
   23     photo was taken, but the camouflage pattern is identical.
   24                We know after being ordered by the court on
   25     June 11th, 2015 that he should not commit any new offenses, a


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1929    Page 43 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        43

     1    firearm was stolen on October 5th, 2015, by a person named
     2    Yousef, and who was the only during -- the records -- the
     3    employer records says Yousef Ramadan was cleaning the
     4    victim's home.
     5               MS. FITZHARRIS: Objection. We don't know that
     6    Yousef stole the firearm. We know that someone -- that the
     7    carpet cleaner was named Yousef, and the firearm went
     8    missing.
     9               MR. WATERSTREET: And that the employer records
   10     says that Yousef Ramadan, the employee for Star Carpet, was
   11     the one cleaning that day.
   12                THE COURT: Correct.
   13                MR. WATERSTREET: Your Honor, if I may, if what
   14     counsel is going to be responding to the bond issue? I just
   15     ask for the objections to be from the one attorney, if I may.
   16                THE COURT: All right.
   17                MR. WATERSTREET: Your Honor, the next issue
   18     concerns the theft of firearms, jewelry, and cash. That
   19     theft took place on September 30th, 2015. And defense's
   20     response, I believe, said that the victim's wife was the
   21     culprit, but there are some audio recordings between Ramadan
   22     and the victim that were obtained in this case. I did not
   23     make them exhibits. But there is no indication on any of
   24     those recordings that the victim identified the wife as the
   25     person being responsible.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1930    Page 44 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        44

     1               The next item was on October 22nd, 2015, he was
     2    arrested for child endangerment. Defense's response was that
     3    he was not criminally charged, but, again, 3142 does not
     4    require a criminal charge or conviction; it can take the
     5    person's character as well as past conduct into account.
     6               There are several photographs that we have. This
     7    was a case in which the defendant's daughter who was
     8    approximately three years old at the time was left unattended
     9    by the defendant.
   10                MR. DENSEMO: That's inaccurate.
   11                THE COURT: Just a minute.
   12                MR. WATERSTREET: Your Honor --
   13                THE COURT: Just a minute. Which one of you are
   14     going to --
   15                MR. DENSEMO: I am, Your Honor, and that's
   16     inaccurate. The child was much older. She was not two years
   17     old.
   18                THE COURT: That's really not a legal objection,
   19     but go ahead.
   20                MR. WATERSTREET: I believe I said three years old,
   21     Your Honor.
   22                THE COURT: You said three.
   23                MR. WATERSTREET: And that she was left unattended.
   24     He was arrested for having dangerous narcotics and a loaded
   25     firearm within the reach of the child. The -- as a result of


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1931    Page 45 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        45

     1    that, his Glock firearm was seized, which I will get to
     2    later.
     3               There are some pre-event photos of his child
     4    playing with that particular firearm. As the Court will
     5    recall, we were able to recover a number of imagines the
     6    defendant took that were on his hard drive, and there are
     7    photographs that predate October 22nd, 2015, which shows his
     8    daughter playing with the exact gun that he was arrested for
     9    having a loaded firearm within the daughter's reach in the
   10     very same room where the firearm was found under the
   11     mattress, and there were drugs on a pillow on a chair, and
   12     those drugs were Vicodin.
   13                In the execution of -- or review of the defendant's
   14     electronic media, there were several items that were found,
   15     and some of those have to do with -- bear with me a moment --
   16     the drugs that he had on Exhibit Number 14 were photos of the
   17     Vicodin, the very same type of Vicodin that the police said
   18     were not found in a pill container, they could not find a
   19     pill container with his name for this Vicodin. We did,
   20     however, recover imagines from the defendant's electronic
   21     media which shows him having these Vicodin pills in a plastic
   22     bag, and the pills laid out on some paper. There are two
   23     photographs of those indicative of somebody involved in
   24     either the use or the --
   25                THE COURT: Just a minute. My question, is the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1932    Page 46 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        46

     1    photograph with the pills laid out on paper, were the pills
     2    found laid out on paper or somebody took the pills from the
     3    plastic bag and laid them out?
     4               MR. WATERSTREET: These were just two images that
     5    we found on the defendant's media, Your Honor.
     6               THE COURT: You found it on the media.
     7               MR. WATERSTREET: We found it on his media, which
     8    is consistent with what the police found when they went in
     9    and found the pills.
   10                MR. DENSEMO: Your Honor, part of --
   11                THE COURT: Pardon me?
   12                MR. DENSEMO: The government is doing -- the
   13     government is making an offer of proof and is arguing at the
   14     same time. We would ask the government to do one or the
   15     other.
   16                THE COURT: Overruled. Go ahead.
   17                MR. WATERSTREET: Thank you, Your Honor. These
   18     pills -- the proffer I'm making to the Court, there were no
   19     pill bottles found consistent with these. This is consistent
   20     with --
   21                MR. DENSEMO: Objection, that's argument.
   22                MR. WATERSTREET: I thought that was just
   23     overruled, Your Honor.
   24                THE COURT: Just go on so we can get through this.
   25                MR. WATERSTREET: These are consistent with being


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1933    Page 47 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        47

     1    dangerous drugs packaged and laid out for distribution.
     2               MR. DENSEMO: Objection, Your Honor. The argument
     3    is argument that these are consistent. This is not an offer
     4    of proof. The government -- I have no objection to the
     5    government saying what they found on the media, what
     6    convictions, because there are none, that Mr. Ramadan has.
     7    But if we are going -- if he's going to argue then let this
     8    be his argument. Is he arguing now or is this an offer of
     9    proof?
   10                THE COURT: He can combined this. This is actually
   11     argument. You said he had the burden so I'm assuming he's
   12     arguing this with these exhibits.
   13                MR. WATERSTREET: Yes. If I may, Your Honor?
   14                THE COURT: Which you are going to do later.
   15                MR. WATERSTREET: Yes, Your Honor.
   16                THE COURT: Okay.
   17                MR. WATERSTREET: Thank you.
   18                THE COURT: Go ahead.
   19                MR. WATERSTREET: These pre-event photos are
   20     evidence of dangerous narcotics packaging and the amount laid
   21     out for distribution.
   22                The Court will recall during our proffer of proofs
   23     to show the defendant is very familiar with the legal system.
   24     We introduced evidence that he was arrested on several
   25     occasions, one of the arrest was for this child endangerment


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1934    Page 48 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        48

     1    which his Glock firearm was seized, and he was taken into
     2    custody and was released sometime later.
     3               In the -- in his media we found a video of the
     4    defendant giving his clearly frightened daughter the promise
     5    of candy if she would tell the truth about the events that
     6    took place. And if I can give a little bit of background,
     7    the events that took place on that day was as a result of the
     8    theft of cash and jewelry on September 30, 2015, more than
     9    $200,000 from currency, firearm, and jewelry was stolen from
   10     a relative of Mr. Ramadan who had hired Mr. Ramadan to come
   11     and clean the carpets. The victim was gone during the time
   12     period that Mr. Ramadan came to clean the carpets. When the
   13     victim returned, they found the money, the jewelry, the
   14     firearm missing. They did not have any insurance for this so
   15     they hired a private detective to try to find out if the
   16     private detective could maybe help recover some of the items.
   17                The private detective went to Mr. Ramadan's house
   18     on October 22nd, 2015 to try to talk to Mr. Ramadan. When he
   19     got there, his young daughter was basically unattended, and
   20     the reason I say basically unattended is because police
   21     eventually found Mr. Ramadan either passed out or fast asleep
   22     on his bed in his bedroom.
   23                After private investigator saw the daughter leave
   24     the house, walk out unattended, eventually go back in the
   25     house, he knocked on the door, asked if the father was home.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1935    Page 49 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        49

     1    The daughter said that he had -- that he was -- he had a
     2    stunt gun or a gun inside the house --
     3               MR. DENSEMO: Your Honor, excuse me, I apologize
     4    for objecting to this. One, I object to the prosecutor
     5    testifying to things that I'm not going to be able to
     6    cross-examine anybody about. And I would like to see the
     7    basis for these alleged statements from his daughter and the
     8    private investigator. I don't know if this story is true or
     9    not.
   10                THE COURT: Okay. Mr. Waterstreet.
   11                MR. WATERSTREET: Your Honor, it is an offer of
   12     proof based upon the police reports that were obtained.
   13                THE COURT: All right.
   14                MR. DENSEMO: Where are the police reports?
   15                THE COURT: He said he's going to make an offer of
   16     proof. We will see.
   17                MR. WATERSTREET: I'm making an offer of proof.
   18     Thank you, Your Honor.
   19                And the daughter let the private detective in,
   20     realized the daughter went back tried to wake Mr. Ramadan,
   21     was unsuccessful, the. Private investigator left, called the
   22     police, told them about the incident. The police showed up
   23     and eventually found, as I said, Mr. Ramadan either asleep or
   24     passed out on his bed for the entire period of time.
   25                So we have Exhibits 17 and 18 in which the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1936    Page 50 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        50

     1    defendant, Mr. Ramadan, and his wife, who were both not
     2    present, did not know what happened, were trying to get their
     3    daughter to tell the truth by a promise of candy or taking
     4    her to the park if she were to say that the man claimed to be
     5    a police officer and he opened up the door and came in. And
     6    I have those, I believe they have been provided under seal
     7    for the Court, because the daughter is involved in this. I
     8    will not play those in open court, I will leave that to the
     9    Court's discretion to review those, but I ask the Court to
   10     pay close attention to what is really going on here.
   11                As to -- between July 2016 and September 2016 we
   12     have other incidents where, while still under court order to
   13     commit no new offense, the defendant -- the defendant is
   14     involved in drug dealing. There is a detailed conversation
   15     he has with another individual about the growing, harvesting,
   16     and distribution of marijuana. There are photographs of the
   17     grow operation, I believe that's Exhibit Number 24, that is
   18     the marijuana itself, as well as I think the defendant posing
   19     in front of some of the plants that were part of the grow
   20     operation. And then on Number 26 is some of the harvested
   21     buds from that grow operation that were laid out on paper.
   22     And then there are some buds that are placed in glass jars
   23     dated 9/16/2016, 9/15/2016, and 9/16/2016.
   24                And the reason I bring those dates to mind is there
   25     is an audio recording dated September 8th, 2016, in which


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1937    Page 51 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        51

     1    they were talking about the harvesting and drying process and
     2    the profit of approximately $16,000 a month that they will
     3    make from the harvesting of the drugs.
     4               The reason why I brought those pictures of the
     5    glass jars is because the direction that Mr. Ramadan was
     6    being given he was told the process of how to dry it, and he
     7    was told basically after seven to eight days in going through
     8    the drying process he was told to put them at the very end,
     9    those buds, in ajar. And if my math is correct, eight days
   10     from September 8th, 2016 is September 16th, 2016, and we find
   11     those items in the jars on 9/16/2016, just as he was told to
   12     do as part of the grow operation.
   13                If the Court wishes, it is a rather lengthy audio
   14     presentation, I will leave it to the Court's discretion if it
   15     wishes to hear it at this time, but that's Exhibit Number 25,
   16     and that has been provided to the Court as well.
   17                THE COURT: I don't need to hear it now.
   18                MR. WATERSTREET: Okay. Thank you.
   19                As to the issue of the defendant's potential
   20     flight, some of factor that go into that are family ties and
   21     employment. As the Court knows and has been made fully aware
   22     as a result of the suppression hearing, the defendant and his
   23     family have packed up all of their worldly belongings, say
   24     the firearms that he left in the storage locker, and
   25     terminated their apartment lease, and they were leaving the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1938    Page 52 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        52

     1    United States. His wife said they were leaving because of
     2    legal problems related to domestic and fraud issues that they
     3    had been having.
     4               On August 29th, 2017, there was bond hearing for
     5    Mr. Ramadan, which he consented to bond. His wife and his
     6    children were at that bond hearing. Shortly after he
     7    consented to being detained, they got on a plane, they left
     8    the United States, and they have not been seen back here in
     9    the United States since.
   10                He has his family, his children, his wife, are no
   11     longer here in the United States. He owns no property here
   12     in Michigan. His wife acknowledged he was unemployed prior
   13     to their departure. He's unemployed now. And there is also
   14     an issue concerning his denaturalization. And if the Court
   15     will allow me to talk about that for a moment.
   16                Before the defendant became a citizen of the
   17     United States he has to go through a process of filling out a
   18     naturalization application, it is an N400. And in that N400,
   19     one of the questions that is asked is have you committed any
   20     offenses for which you have not been arrested. I don't mean
   21     to belabor this point, but what he failed to disclose was the
   22     fact of the crime that he pled guilty to, that he admitted
   23     beyond a reasonable doubt that he could be found guilty of
   24     was taking money from the Social Security Administration for
   25     which he was not entitled. That criminal conduct predated


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1939    Page 53 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        53

     1    and postdated his application for naturalization.
     2               He thereafter went for an in-person interview.
     3    Again, was placed under oath, was asked the same question,
     4    and failed to honestly tell the truth, failed to disclose the
     5    fact that he was engaged and had been engaged in criminal
     6    conduct by making false statements to illegally obtain funds
     7    for which he was not entitled to.
     8               This was brought to defense counsel's attention,
     9    and I think that he has brought it up before, but because
   10     this matter -- all of that criminal conduct took place in
   11     California, that is not a charge that could be brought here
   12     in this district. However, he will face denaturalization in
   13     the Southern District of California sometime here in the near
   14     future.
   15                Now, I understand the defense counsel's difficult
   16     position they are placed in. Their client demands that they
   17     file a motion for bond, and they have to make the best
   18     arguments they can based upon some of the evidence that they
   19     have. And, for example, we brought up some other thefts that
   20     he was engaged in at the time while he was on bond when he
   21     was working at the -- for the carpet company, which was ID
   22     theft in which there was credit cards and Social Security
   23     cards and checks and blank checks and driver's licenses which
   24     were photocopies or photographed by the defendant and we
   25     found in his media.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1940    Page 54 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        54

     1               They suggest -- defense suggest, and I understand
     2    they are trying to make the best of the bad situation, that
     3    most, if not all, of the identification given to Mr. Ramadan
     4    by the homeowners was to pay for cleaning services. But if
     5    we look at Exhibit 12 that does not explain why you make a
     6    copy of a Social Security card. You don't pay anything with
     7    a Social Security card. It also does not explain why he made
     8    a photocopy of a blank check. You do not -- a blank check is
     9    not a payment. It is, however, the person's personal
   10     information, their account number, their home address, so
   11     that if he chose to engage in some type of fraud with that he
   12     could, but that certainly does not explain.
   13                And it certainly does not explain Exhibit Number
   14     13, which is a photograph of U.S. Customs and Border
   15     Protection uniform that he took in a client's bedroom, as
   16     well as employee's government identification card. You do
   17     not pay with a government identification card. And it
   18     certainly does not explain why he took a photo of the airport
   19     access card for this employee.
   20                Your Honor, this is something that gravely concerns
   21     the United States because he went in unbeknownst to a
   22     government agent, got the personal identification card, sees
   23     how it's made, sees how the access to the airport is made
   24     which is to general aviation, the airfield, the ramps, the
   25     terminal, the commuter and freight area of the airport in


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1941    Page 55 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        55

     1    San Diego and finds out what a badge needs to look like in
     2    order to gain access to that organization. And then on top
     3    of that, he makes sure that he takes a picture of the uniform
     4    as well as the insignia for U.S. Customs and Border
     5    Protection so that if he chose to take on somebody's identity
     6    he could. And, again, this is why he was still under court
     7    order not to commit any new offenses.
     8               Then there's the gun theft. The defense's response
     9    to that is that his lawful possession of firearms and firearm
   10     paraphernalia does not preclude him from being released on
   11     bond, but this was not lawfully possessed. The firearm was
   12     stolen. Neither one of the firearms that he's charged with
   13     are lawfully possessed because those serial numbers have been
   14     obliterated, and he's in illegal possession of a silencer,
   15     and he's also in possession of stolen firearm parts.
   16                And this is another greater concern because of
   17     something the defendant said when he was at the airport. He
   18     says if his weapons were confiscated he could simply buy more
   19     weapons off the street. So even if this Court were to make
   20     sure that none of the firearms that were previously possessed
   21     by the defendant he had access to, he still has said that
   22     he's willing to get these firearms off the street, and I
   23     think the proof is in the pudding because he has two firearms
   24     with obliterated serial numbers that were -- that cannot
   25     lawfully be exchanged, could not be lawfully be bought and


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1942    Page 56 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        56

     1    sold.
     2               Another one was the fact that Mr. Ramadan allows
     3    his children to handle and learn about firearms is not a
     4    justifiable basis for denying bond in this case. And defense
     5    counsel attached some photographs of young -- younger
     6    children holding firearms and suggest that that, well, since
     7    the defendant has his young children holding firearms and
     8    there's photos that he was able to find on the Internet of
     9    younger children holding firearms it is appropriate, but he
   10     says it is not a justifiable basis for denying bond in this
   11     case, not justifiable.
   12                Your Honor, to equate Government's Exhibits Number
   13     21 and 22, which I will talk about in a moment, with
   14     photographs of children -- or young children holding a
   15     shotgun, if there is no difference between those two frankly
   16     I should sit down now because Exhibit Numbers 21 and 22 is
   17     Mr. Ramadan and his children shooting out the door of their
   18     apartment building complex, shooting it into the -- over the
   19     parked cars into the building across the way from the
   20     apartment complex. On the 4th of July, 2016, he and his two
   21     oldest son independently shot a gun out of their patio
   22     sliding door into an apartment complex. How many people have
   23     to be placed in danger by that stray bullet?
   24                And then there was another video that we found,
   25     Exhibit Number 23. He apparently becomes upset because his


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1943    Page 57 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        57

     1    children did not learn to load the bullets into the gun
     2    magazine well enough.
     3               And then there is another video, 2-A, which he's
     4    carrying around a loaded, cocked concealed weapon in his
     5    house around his children. Day/night difference between
     6    photographs of NRA children learning how to shoot from the
     7    NRA versus having -- shooting guns out the patio.
     8               And, Your Honor, I'm going to ask the Court to take
     9    a look at Exhibits Number 21 and 22 and 23. I move for their
   10     publication, Your Honor.
   11                THE COURT: Okay. Go ahead.
   12                MR. WATERSTREET: This is 21, Your Honor, the first
   13     one.
   14                (Exhibit Number 21 played for the Court.)
   15                MR. WATERSTREET: Can we start that over, Your
   16     Honor? If I may, you will see his two sons standing to the
   17     side, and what you will see is he is on the second floor, and
   18     it is overlooking the parking lot of the apartment complex.
   19                I also have some other documents of the apartment
   20     complex and the apartment building so the Court can have a
   21     better understanding of the layout. It is Exhibit Number 30.
   22                And if the Court will note, there is a living room,
   23     and it shows the living room and the balcony. They are
   24     shootings out over the balcony. And the second photo here
   25     will show where they are shooting onto. The red dot marks


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1944    Page 58 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        58

     1    their apartment building, and they are shooting off into the
     2    complex and into a neighborhood behind the apartment complex.
     3               Can we play 21, please?
     4               (Exhibit Number 21 played for the Court.)
     5               MR. WATERSTREET: That was one of his twin sons
     6    shooting it. There's another identical one for Number 22.
     7               THE COURT: One is enough. Thank you.
     8               MR. WATERSTREET: The next one is how he becomes
     9    very upset with his children because they can't load the gun
   10     magazine with a bullet, that's Exhibit Number 23.
   11                (Exhibit Number 23 played for the Court.)
   12                MR. WATERSTREET: Your Honor, I think that's enough
   13     for the point to be made.
   14                MR. DENSEMO: It is not enough. Why don't we play
   15     the whole thing?
   16                MR. WATERSTREET: Absolutely.
   17                MR. DENSEMO: Go right ahead, if you want to talk
   18     about his parenting.
   19                MR. WATERSTREET: Your Honor --
   20                (Exhibit Number 23 played for the Court.)
   21                MR. WATERSTREET: Your Honor, as I said, I believe
   22     that's enough. That's good. Your Honor, this is also -- you
   23     will see depicted in there the defendant's wife. This is the
   24     same woman who told the police at the airport she knew
   25     nothing about what her husband did with firearms.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1945    Page 59 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        59

     1               I think at this point, Your Honor, the government
     2    has outlined and established that the defendant is a risk of
     3    flight by the preponderance of evidence, and he's a danger to
     4    the community by clear and convincing evidence. But in all
     5    bond cases, Your Honor, what is really comes down to is the
     6    defendant's word, just like he gave the word to the judge
     7    when he was sentenced and placed on probation that he will
     8    abide by the law.
     9               (Ms. Fitzharris exited the courtroom at 2:50 p.m.)
   10                MR. WATERSTREET: Now, if this was -- this is his
   11     first time coming before this Court. Had we not conducted
   12     some of the hearings that we've had the Court would not know
   13     what the defendant's word is worth, but we know having gone
   14     before another court his word is not good that he will not
   15     engage in other crime conduct while out on court release, he
   16     will not follow court orders, and this can give us some
   17     inside into the defendant's action.
   18                In knowing what we know now about Mr. Ramadan, the
   19     question the Court has to ask itself is do you think his word
   20     is good? Is he a man who will show up when he's ordered to
   21     show up? He is a man that will abide by the Court order, and
   22     not commit any new offenses?
   23                And what do we know about his word and how good his
   24     word from this case along? This is a man who said my guns
   25     are at my friend's house. And where were they found? This


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1946    Page 60 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        60

     1    is the same man who made a false allegation about how the FBI
     2    tried to interview him at Milan Detention Center, and we
     3    rebutted that after defense counsel asked us to check in.
     4    There was no -- that false statement that he made to the
     5    Court was totally unsubstantiated.
     6               I only own three guns, a Glock and two rifles.
     7    Well, we know that Glock was seized by the police back in
     8    California back in 2015. He did not have a Glock. We know
     9    he had more than that; he had the stolen AR15 and he had the
   10     two firearms with the obliterated serial number and he had a
   11     silencer. All of my guns are properly purchased and
   12     registered. Well, we know that's not true too.
   13                And at the suppression hearing we played two
   14     separate videos involving encounters Mr. Ramadan had with
   15     uniformed police officers who were clearly displaying
   16     firearms, and the purpose of that was to establish that
   17     Mr. Ramadan could still become very aggressive when things
   18     weren't going his way, and it was -- and it was totally
   19     absent any wrongful conduct by the police. And then
   20     Mr. Ramadan was not intimidated by the mere presence of a
   21     firearm, whether it was displayed or carried and concealed.
   22                But in one video, if the Court will recall, was a
   23     video of Mr. Ramadan cutting through the shopping mall
   24     parking lot to avoid the traffic light with the Washtenaw
   25     County Sheriff. He made a false statement and he was caught


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1947    Page 61 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        61

     1    in that false statement when he planned to stop at the store
     2    but it was closed. The officer immediately called out his
     3    lie and he said, no, that store is open, there are people
     4    shopping there right now, and then he quickly changed his
     5    story is something else.
     6               So we know from evidence that was just produced at
     7    the suppression hearing alone Mr. Ramadan's word is no good.
     8    We don't even have to look at his past conduct, but the
     9    statute says you must, the Court shall take into account.
   10                So what else do we know about his words? From his
   11     prior conviction we know he lied to get money that he is not
   12     entitled to. Lied under oath, penalty of perjury, to the
   13     Social Security Administration employees as to where his
   14     children were. He lied to the inspector after he told the
   15     inspector -- after the inspector told Mr. Ramadan he believed
   16     he way lying. He lied to the inspector after the inspector
   17     showed Mr. Ramadan the travel documents to show that his kids
   18     were out of the country, and Mr. Ramadan had the audacity to
   19     look him square in the eye and say, no, they are right here
   20     in Chula Vista when they were not. So we know what his word
   21     is worth, and we know it's not good.
   22                In closing I just want to talk on two more things
   23     and I will sit down. One has do with the issue of flight.
   24     On May 30th, 2018 Mr. Ramadan released -- moved for release
   25     on unsecured bond, and defense stated in their responsible --


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1948    Page 62 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        62

     1    actually I believe that was the only thing they stated in the
     2    response is that they agreed with the government because the
     3    government pointed it out in its response. So on May 30th,
     4    2018, Mr. Ramadan was asking this Court to please allow him
     5    out on unsecured bond, and while seeking permission and
     6    awaiting for that hearing to take place, Mr. Ramadan was
     7    caught at the Milan Detention Facility about escape
     8    paraphernalia.
     9               On June 11th, 2018, seized from his cell was a
   10     black ski mask, a black thermal shirt, and a green duffel
   11     bag. And inmates at Milan are limited in the type of items
   12     that they are allowed to wear while in custody, that is so
   13     the prison personnel can quickly identify and easily identify
   14     an inmate from a non-inmate. And non-prison personnel cannot
   15     wear certain things. For example, on the bureauofprisons.gov
   16     website it says visitors cannot wear khaki or tan pants
   17     because the prisoners wear khaki clothing at Milan, yet the
   18     defendant had what has been identified as escape
   19     paraphernalia, and that is Exhibit Number 29.
   20                And according to a report that I proffered to the
   21     Court, Mr. Ramadan's explanation for having this dark
   22     clothing to avoid being detected at night, being able to
   23     cover his face to avoid identification or detection, and to
   24     have a heavy canvas bag to lay across barbed wire to allow
   25     him to escape, his explanation of how he came in custody of


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1949    Page 63 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        63

     1    these is he found them lying next to trash can and took them
     2    back to his cell.
     3               If the Court will recall, the defendant was placed
     4    in the special housing unit for being involved in a fight
     5    while at Milan. Then he was -- then he was -- got in trouble
     6    for writing graffiti on the walls at Milan, and now he's been
     7    caught with escape paraphernalia after asking this Court for
     8    a bond.
     9               The last one is Exhibit 30. This is an imagine
   10     that we were able to recover from the defendant's media.
   11     That is a video of him shooting one of the firearms that he's
   12     charged with, and using the silencer attached to it, out the
   13     back window of the very same apartment. So if I could go
   14     back to Exhibit 30, which is the Green Meadows Boulevard,
   15     there is a balcony in the front and bedroom in the back. As
   16     part of that, Your Honor, out that back bedroom window is a
   17     small stance of trees, and then there is a driving range, and
   18     there is an apartment complex and homes that are behind his
   19     apartment. So he's shooting his children out of the front
   20     porch over the balcony, and he himself is shooting out the
   21     back window using the very firearm that he's charged with.
   22     Do we have that?
   23                (Exhibit Number 30 played for the Court.)
   24                MR. WATERSTREET: He will load the weapon with a
   25     bullet and fire it out the back window, and you will see the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1950    Page 64 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        64

     1    shell discharge. He shows you the bullet he's putting in,
     2    and then you will see the discharge hit the vertical blinds
     3    on his right, and he looks down to try to find the spent
     4    shell. Thank you.
     5               In closing, Your Honor, his word is no good, he's a
     6    danger to the community, and he's a risk of flight. Thank
     7    you.
     8               THE COURT: Thank you. Mr. Densemo.
     9               MR. DENSEMO: Mr. Ramadan is charged with an
   10     offense that carries the presumption that he should be
   11     released on bond while the case is pending. This presumption
   12     is supported by Mr. Ramadan's minimal criminal history.
   13                He was placed on probation for a misdemeanor fraud
   14     offense several years ago. While the case was pending he did
   15     is not miss any court dates, and no warrants issued for
   16     failure to appear. Additionally, no violation of his bond
   17     conditions took place during the year or so that it took to
   18     resolve the matter. He successfully completed probation and
   19     repaid the entire restitution amount. He does not have any
   20     other criminal convictions.
   21                Mr. Ramadan is married, and he has four children.
   22     He has been married for over ten years. He was born in
   23     Palestine but became a U.S. citizen approximately seven years
   24     ago. His wife and children U.S. citizens. He has two
   25     sisters and several other family members who reside in the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1951    Page 65 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        65

     1    metro Detroit area.
     2               He does not have a history of drug addiction or
     3    alcohol abuse. He is not addicted to gambling. He does not
     4    have any mental health issues that would make it difficult
     5    for him to comply with bond condition.
     6               He's charged with an offense that does not involve
     7    the sale or distribution of drugs or firearms. The offense
     8    does not involve any allegation of violence or threats to
     9    harm a member of or members of the community.
   10                Mr. Ramadan has been employed in several capacities
   11     over the past ten years, and he's easily able to obtain
   12     employment. If employment cannot be obtained in a relatively
   13     short period of time, his family has the financial means to
   14     support him until he's able to support himself.
   15                The federal agents have already seized all of his
   16     travel documents. A bond condition prohibiting him from
   17     obtaining new travel documents could address any concerns
   18     about unauthorized travel.
   19                A bond condition requiring no firearms at the bond
   20     address and no possession of firearm would address any issues
   21     regarding his possession of firearms.
   22                Despite the government's attempt to betray
   23     Mr. Ramadan as a violent criminal, he's never Been arrested,
   24     investigated or charged with a crime of violence.
   25                The government argues that Mr. Ramadan may have


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1952    Page 66 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        66

     1    been involved in other nonviolent criminal conduct but this
     2    suspicion is not supported by any criminal charges against
     3    him.
     4               The government argues that Mr. Ramadan is a bad
     5    parent yet questionable parenting skills are not a typical
     6    impediment to release on bond.
     7               The government argues that Mr. Ramadan's right to
     8    the -- to freely exercise his religion is problematic in this
     9    case because Mr. Ramadan professes to believe in caliphate,
   10     which the government interprets as being counter to the
   11     interest of the United States.
   12                Mr. Ramadan has stated on more than one occasion
   13     that though he believes in caliphate as millions of Muslims
   14     do, he does not believe in the utilization of violence to
   15     achieve it.
   16                Individuals like Mr. Ramadan historical present a
   17     very low risk of either danger to the community or a risk of
   18     flight. Individuals charged with far more serious offenses
   19     and who have had a more troubling criminal history have
   20     frequently released on bond, and more often than not no
   21     violations of those conditions occur. And in most cases --
   22     in most cases prosecuted in federal court defendants will
   23     typically have prior felony convictions, multi arrests,
   24     warrants, probation and parole violation histories, yet many
   25     are still released on bond if certain other factors are


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1953    Page 67 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        67

     1    present such as, does the charge carry a presumption that the
     2    individual should be releases? Is they offense of crime of
     3    violence, drug trafficking, sex crime, pornography? Does the
     4    individual have strong ties to the community? Are that
     5    housing issues? Are there mental health issues? Is the
     6    person employed or employable? Is there a drug or alcohol
     7    history? When you check all the boxes in favor of the person
     8    charged that person has to be released on bond without
     9    question because the Bail Reform Act mandates it.
   10                All of the boxes are checked in favor of
   11     Yousef Ramadan in this case. His release shouldn't be a
   12     matter of discussion. So we have to ask ourselves why is it
   13     being opposed by the prosecution. If you accept the
   14     proposition that on paper Mr. Ramadan is an ideal candidate
   15     for bond, more so than most defendants, why then is the
   16     government so opposed to his release? He can't lawfully
   17     travel outside of the United States without his passport.
   18     The federal agents have that. The same agents kept him under
   19     surveillance from August 16th, 2017 until his arrest on
   20     August 29th, 2017. They could easily do so again if they
   21     felt the need to do it.
   22                Mr. Ramadan's convicted -- Mr. Ramadan has not been
   23     convicted of any act of violence in his life. He has argued
   24     with police officers attempting to ticket him, but a lot of
   25     citizens do the same thing. Lack of civility isn't a


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1954    Page 68 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        68

     1    barometer for danger.
     2               Mr. Ramadan recorded encounters he had with other
     3    motorists. The government did not present the entire videos
     4    of these encounters. Mr. Ramadan has ever right to stand up
     5    for himself and to protect himself from harm. He does not
     6    have to shrink away from confrontation or continue to run
     7    when he's being followed by somebody.
     8               The government has presented -- the government
     9    hasn't presented any evidence that Mr. Ramadan has ever gone
   10     out of his way to pick a fight with someone. Just because
   11     he's mouthy and talks back to the police doesn't mean he
   12     should be looked up for doing so.
   13                There are some places in the United States where
   14     police officers are cursed out on a daily basis. The police
   15     officers, to their credit, recognize these individuals for
   16     who they are, but unless the citizen engages in more than
   17     mouthing off the officer does not attempt to make an arrest
   18     or charge these citizens with an offense.
   19                This is exactly what happened in the videos the
   20     government showed in the suppression hearing. Mr. Ramadan
   21     disagreed with the ticket and he got mouthy with the
   22     officers. He was upset, argued with the officers, and drove
   23     off in a huff. These scenes of Mr. Ramadan behaving badly
   24     aren't indicative of a dangerous person. They are indicative
   25     of somebody getting angry over a ticket when they feel they


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1955    Page 69 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        69

     1    didn't deserve it. Unfortunately some motorists handle
     2    getting a ticket better than others.
     3               Everyday somewhere in the U.S. police officers and
     4    parking lot -- parking attendants get an earful from citizens
     5    over traffic and parking tickets. It doesn't mean that they
     6    are dangerous, it just means they are rude.
     7               And finally we need to talk about the elephant in
     8    the room. Yousef Ramadan, an Arabic male, Muslim, born in
     9    Palestine. All things being equal in this case, Mr. Ramadan
   10     should have been released on bond a long time ago, but on his
   11     electronic media he had videos and photographs of a
   12     complicated and terrible conflict. What is most interesting
   13     to me is that the photographs and videos and propaganda
   14     aren't illegal to possess, watch, or discuss, but if you are
   15     a Muslim you run the risk of being perceived as a supporter
   16     of terrorism, and no matter what you say or what you do it is
   17     extremely difficult to eliminate this perception. It is as
   18     if this information which contains seasons of brutality and
   19     violent rhetoric can be constitutionally viewed, collected,
   20     and discussed by anyone, except a Muslim, without any
   21     preconceptions or assumptions being made that the viewer is a
   22     potential danger to the community. A greater level of
   23     scrutiny is applied when a Muslim has materials related to
   24     ISIS, Hamas, Hezbullah, Al-Qaeda or other groups of this
   25     nature. Eventually this heightened scrutiny will dissipate,


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1956    Page 70 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        70

     1    but for now we have to acknowledge that it exists and it is
     2    present in this case.
     3               The government in its brief falsely stated that
     4    Mr. Ramadan is an ISIS supporter. Although Mr. Ramadan
     5    affirmatively told the agents from the very beginning he does
     6    not believe in the violence committed by ISIS, his statement,
     7    which should have been a relief to hear, fell on deaf ears.
     8    He told the agents he doesn't support Hamas, even going so
     9    far as to say F, Hamas. They didn't listen to him. Their
   10     preconceptions wouldn't allow them to comprehend some very
   11     important words spoken by Yousef Ramadan. I don't support
   12     the violence ISIS is engaged in. Without violence ISIS is
   13     nothing more than another political group. And Mr. Ramadan's
   14     statements to the agents renouncing the violence and terror
   15     tactics utilized by these groups are the most important
   16     admissions he made to the agents on August 15th, 2017. As
   17     result of his words falling on deaf ears, Mr. Ramadan and his
   18     family hasn't suffer privately and publically.
   19                We respectfully ask that the Court make its
   20     decision in this case and that that decision be based upon
   21     primarily the presumption that Mr. Ramadan should be released
   22     because he's charged with an offense that says that he should
   23     be admitted to bail.
   24                Judge, I would like to talk about some of the
   25     things the government spoke about in its presentation.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1957    Page 71 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        71

     1    Implicit in the government's argument is the assumption that
     2    Yousef Ramadan is guilty of the things that they have said
     3    are crimes, so the prosecution has already convicted him of
     4    the allegations that are all several years old, and to date
     5    no charges have ever grown out of any of these allegations at
     6    all. The allegation about the stolen firearm has been around
     7    for a very long time. Mr. Ramadan has never been arrested or
     8    charged for that. The allegation that money was stolen, that
     9    was a family matter. The individual in that case -- the
   10     husband went out of town, he went overseas, I believe he even
   11     went back to Palestine, and when he came back money and
   12     jewelry was missing. Now interestingly, Judge, the money and
   13     jewelry were in a safe with a combination. Now the
   14     government wants you to believe that Yousef Ramadan was able
   15     to -- and there was no indication that the safe was broken,
   16     had been broken, broken into, bombed or any of that. As it
   17     turned out, there was a family meeting and the husband's wife
   18     had went into that safe, found the money and the jewelry, and
   19     took it. They were subsequently divorced. But, again,
   20     Yousef Ramadan gets the blame because he was in the area.
   21                I recall once my son did something that upset his
   22     mother, and it upset her so bad that she called me, just like
   23     in the movies, wait until your father gets home. And I got
   24     home and she told me what my son had done, and what she
   25     expected me to do. Now, in the black community we beat our


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1958    Page 72 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        72

     1    kids. We put a belt on them. All right. Not like white
     2    folk, we don't talk to them and tell them, oh, you did wrong.
     3    We put a belt on them. And my wife told me beat his butt,
     4    and I did. That was not my finest moment. But I put a
     5    whooping on him like he never ever forgot. Sometimes people
     6    from different cultures raise their kids differently. They
     7    talk to their kids differently.
     8               The government's argument that that man should be
     9    locked up because they disagreed with how he parents his kids
   10     is ridiculous, and it is not worthy of further consideration.
   11                They talk about the history and characteristics.
   12     His history is one misdemeanor for a nonviolent offense. His
   13     history is paying off $40,000 in restitution. Not coming
   14     back to court continuously saying, judge, I don't have it,
   15     I'm broke, I haven't been able to work, my kids got sick. He
   16     was placed on probation, he completed the probation. He paid
   17     off the restitution. There were no probation violations.
   18     There were no warrants issued. Nobody had to go looking for
   19     Yousef Ramadan. When the time came to court, he appeared in
   20     court at every hearing.
   21                The argument that he is a risk of flight is equally
   22     as ridiculous, Judge. The government offered Yousef Ramadan
   23     a plea to a small amount of prison time and denaturalization.
   24     He said I'm not going to give up my U.S. citizenship.
   25                The decision to say in jail, Your Honor, in this


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1959    Page 73 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        73

     1    case was Yousef Ramadan's decision. I asked him a long time
     2    ago let me ask Judge Battani for bond. He said, no, I want
     3    Judge Battani to hear from me before she makes that decision.
     4    I want her to hear this case before she makes that decision.
     5    And I told him this case will probably last a very long time
     6    before that's done, and he said, that's fine, I will sit here
     7    in jail and I will wait until she has heard the entire case.
     8               So Yousef Ramadan, Your Honor, wasn't concerned
     9    with his freedom. He was concerned about the truth getting
   10     out. He was concerned about how you viewed him. And he
   11     wasn't prepared to have a bond hearing until he felt that
   12     everything had come out, the good and the bad. And we knew
   13     that these photographs were going to be displayed to you. We
   14     knew that he was going to be described as a horrible
   15     individual. Oh, look, Judge, his kids have guns, the Muslim
   16     kids have firearms, isn't that scary.
   17                THE COURT: How old were those little boys?
   18                MR. DENSEMO: I think --
   19                THE DEFENDANT: 10 and 11.
   20                MR. DENSEMO: 10 and 11. I grew up, Judge, on a
   21     farm. My grandmother put a gun in my hand when I was 10
   22     years old, 11 years old, and told me to go find this dog that
   23     was killing her chickens. And me and my brothers, who were a
   24     couple years younger than me, we went out with a shotgun --
   25     me with a shotgun, and we found that dog just as my


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1960    Page 74 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        74

     1    grandmother had instructed me to.
     2               My kids have never seen a gun, Judge. I mean, they
     3    have never been around one when they grew up, but the New
     4    York photograph essay that we presented to the Court, Judge,
     5    you know that there are people in United States who grow up
     6    with guns and their children grow up with guns, and it is a
     7    part of their lives. They are hunters, they are collectors,
     8    and they are folk who teach, like Mr. Ramadan, who teach
     9    their kids at a very young age how to use firearms. And
   10     there are folks in this country who have grown up using
   11     firearms and being around firearms, and sometimes I think
   12     that's good because they know how -- they know how to use
   13     these firearms.
   14                So I don't believe that we should hold it against
   15     Yousef Ramadan that he, like a lot of people, believe in
   16     instructing their kids on firearms, having their kids know
   17     firearms, about firearms, how to handle firearms, how to
   18     shoot firearms. I can have my own personal opinion about
   19     that, about the NRA and about a lot of different things
   20     regarding firearms, but that's -- that's a citizen's right to
   21     have those firearms and to teach their kids about them.
   22                So if the government is saying he should be locked
   23     up, Judge, he's not trustworthy, he's a risk of flight
   24     because he does what a lot of parents do in this country,
   25     then that's -- then that's discriminatory. Why should he be


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1961    Page 75 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        75

     1    singled out? Why should his kids be singled out for learning
     2    these lessons?
     3               And, again, if the government is -- I discussed
     4    that as well. Your Honor, the government talked about pills
     5    or photos of pills found on Mr. Ramadan's electronic media.
     6    They want to extrapolate that into well, Judge, he must have
     7    possessed these. As I indicated in my brief, Your Honor,
     8    Yousef Ramadan has photographs and pictures and videos off
     9    pretty much anything you can imagine. The man has recorded
   10     just about everything in his life, everything he's ever seen.
   11     Anything he finds of interest he keeps on his laptops, his
   12     hard drives his phones. There is no indication that
   13     Yousef Ramadan has ever been found with or possessed a
   14     controlled substance. We don't even know -- since there is
   15     no lab reports in this case we don't know if this -- the
   16     photo from this electronic media is actually a controlled
   17     substance except in the mind of the government it is a
   18     controlled substance, it's a Vicodin.
   19                The same thing with the marijuana, Your Honor. If
   20     you even assume that the government is true that
   21     Yousef Ramadan was around marijuana, you've had clients of
   22     mine who have used marijuana while their federal case was
   23     pending, and the remedy is don't use it any more, I'm going
   24     to test you, if you keep testing dirty then I'm going to send
   25     you -- then I'm going to revoke your bond.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1962    Page 76 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        76

     1               So the idea that, hey, Judge, Yousef Ramadan has
     2    been around marijuana, you shouldn't give him a bond, if
     3    that's the case then marijuana becomes an automatic way to
     4    jail, and we all know that it isn't. It is one of those bond
     5    violations that the bond department is reluctant to bring a
     6    petition on, and the courts are reluctant to revoke bond
     7    because there are other ways of dealing with the people who
     8    use or are around marijuana.
     9               The government talked about photographs of
   10     individual IDs on Mr. Ramadan's electronic media. Again, the
   11     one in particular, I think it was Exhibit 24, is a photograph
   12     of Mr. Ramadan's girlfriend, and she put the -- her
   13     photograph and Social Security number -- Social Security
   14     number into his computer. That was not something he stole
   15     from anybody, that was her using her computer and putting her
   16     information into it. I believe that's Exhibit 24. So that
   17     is where that came from, Your Honor.
   18                The government did not say anything about --
   19                THE COURT: What exhibit are you talking about?
   20                MR. DENSEMO: I believe that's the exhibit with
   21     the --
   22                THE DEFENDANT: They didn't give it.
   23                MR. DENSEMO: Do you have that?
   24                THE COURT: 24 is the marijuana picture.
   25                MR. DENSEMO: No, I'm sorry. I thought it was an


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1963    Page 77 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        77

     1    exhibit of the young lady and her Social Security card.
     2               THE COURT: 11 maybe?
     3               MR. WATERSTREET: 12, I believe, Your Honor.
     4               MR. DENSEMO: I'm sorry.
     5               THE DEFENDANT: Mr. Densemo.
     6               (An off-the-record discussion was held at
     7               3:22 p.m.)
     8               THE COURT: I have 12 is the checks but 11 is the
     9    picture of all the cards.
   10                MR. DENSEMO: Pardon me?
   11                THE COURT: 11 is the picture of cards, the
   12     driver's license.
   13                MR. WATERSTREET: It is last page of 12.
   14                MR. DENSEMO: The government is saying it is the
   15     last page of Exhibit 12.
   16                MR. WATERSTREET: If that's what you are looking
   17     for.
   18                THE COURT: Exhibit 12, last page. Okay. Got it.
   19                MR. DENSEMO: So that's a picture of his cousin's
   20     girlfriend, and as indicated, she was using Mr. Ramadan's
   21     computer and that's how that information got on his
   22     electronic media.
   23                THE COURT: She put it on his computer?
   24                MR. DENSEMO: She put it on there herself. The
   25     other thing too, Judge, the government is saying that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1964    Page 78 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        78

     1    Mr. Ramadan had some sort of bad purpose for these IDs.
     2    There has never been -- if you check any of those IDs or
     3    credit card numbers or anything, there has never been any
     4    Fraud on any of those. There has never been any fraudulent
     5    activity on any credit card number or ID in Mr. Ramadan's
     6    computers, none whatsoever for anybody. Nobody has ever had
     7    a charge to their credit card as a result of anything that
     8    Yousef Ramadan may have done, nothing. So there was never
     9    any indication that Mr. Ramadan ever had any kind of criminal
   10     intent whatsoever, which to me is important, because if you
   11     have those things for identity fraud purposes or fraud
   12     purposes you are going to use them, you don't just collect
   13     them, except if you are Yousef Ramadan who collects
   14     everything and saves everything, sometimes to his detriment,
   15     but the man keeps everything on his computers. And if there
   16     was -- if there was any kind of fraud we would know about it,
   17     and there hasn't been.
   18                So, again, the government being the government is
   19     suspicious of this. You know, probably suspicious too, but
   20     your suspicions are unfounded because nothing has been done
   21     with the information.
   22                THE COURT: Okay. Anything else?
   23                MR. DENSEMO: Yes, Your Honor. I wanted to talk
   24     about the firing of the -- Mr. Ramadan firing weapons. Every
   25     year around the country on the Fourth of July U.S. citizens


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1965    Page 79 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        79

     1    fire off firearms. I think they started firing off firearms
     2    in the old west or back when the country first started
     3    celebrating the Fourth of July people have been firing
     4    firearm. And on New Year's Eve I know that in Detroit we
     5    love to fire -- to shoot firearms on the Fourth of July and
     6    New Year's Eve and any other time that we think it is a good
     7    idea. So the fact that Mr. Ramadan did is it in this case,
     8    Your Honor, I don't think is unusual. Maybe again it shows a
     9    lack of good judgment, but I don't think it suggests that
   10     he's danger to the community. And, again, a bond condition
   11     which says you are not to be around firearms at all,
   12     Mr. Ramadan, would cure any kind of concerns that we have
   13     about Mr. Ramadan and firearms.
   14                Just a couple more issues, Your Honor, and I think
   15     that I am done.
   16                THE DEFENDANT: Mr. Densemo.
   17                MR. DENSEMO: One second.
   18                (An off-the-record discussion was held at
   19                3:25 p.m.)
   20                MR. DENSEMO: Your Honor, the other thing that we
   21     wanted to point out that the bullets that were used by
   22     Mr. Ramadan when he was firing with his kids, these were
   23     blanks and they were just used for the sound. And I think
   24     that you can see that there was no ejection.
   25                THE COURT: Just for the sound?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1966    Page 80 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        80

     1               MR. DENSEMO: Just for the sound, just like a loud
     2    firecracker. And I believe that there would have been some
     3    sort of ejection of that if that was from an automatic weapon
     4    as we saw in the other video.
     5               Again, Judge, I would like to finish up by saying
     6    that of the hundreds of people that I have represented,
     7    Mr. Ramadan is one of the few people that has such a minor
     8    criminal record, that who is charged with an offense that
     9    carries a presumption that he should be released on bond. He
   10     has no history of violence. He has no history of
   11     nonappearance. He has strong ties to the community. His
   12     family is here and they have been here. His sisters are
   13     prepared to give him a place to live if the Court should
   14     grant him release.
   15                Much of what the government wants you to use as a
   16     basis for denying bond are uncharged -- is uncharged conduct.
   17     The government -- the only convictions that have arisen arise
   18     in the mind of the government. There has been no charge for
   19     fraud. There has been no charges for child abuse or child
   20     endangerment. There has been no charges for possession of
   21     marijuana with intent to distribute. There is no charges or
   22     convictions for possession of Vicodin. There is no charges
   23     for possession of stolen firearms. There's no charges for
   24     possession of stolen goods. All of these things, Judge, the
   25     government is saying, Judge, lock him up for this stuff here.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1967    Page 81 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        81

     1    He didn't get charged with it, there are no convictions, but
     2    we know we know he did it so lock him up based on that, and
     3    he's a bad parent.
     4                So that's their argument. That's their clear and
     5    convincing evidence as to why he's a risk of flight, as to
     6    why there are no conditions or a combination of conditions
     7    that would reasonable assure his appearance. And those
     8    things don't -- they just aren't sufficient, Your Honor. The
     9    Court should not use those things, uncharged conduct, as a
   10     basis for denying bond when the Court can impose conditions
   11     that would assure his appearance, and we would ask the Court
   12     to do so.
   13                 THE COURT: Thank you. Briefly.
   14                 MR. WATERSTREET: Very briefly, Your Honor. Your
   15     Honor, a bond hearing isn't to see if somebody wins father of
   16     the year award, and that's certainly not why I brought that
   17     up, whether he's a good parent or a bad parent. And this
   18     bond hearing isn't for the Court to determine whether he's
   19     rude to police officers or not. And the issue isn't whether
   20     he has been charged and convicted of prior offenses, but
   21     whether the Court will follow the statute as required that
   22     the Court shall take into account his past conduct. And it
   23     is not an example of did he maybe do this stuff; his videos
   24     that he took himself shows him committing these acts.
   25                 Counsel referenced that he has not engaged in any


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1968    Page 82 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        82

     1    violence, but I believe if the Court will recall he was
     2    arrested for domestic violence in the past, and also he made
     3    reference to a video in which Mr. Ramadan, which I did not
     4    play, the Court has it, which Mr. Ramadan gets out,
     5    challenges somebody to a fight and then sprays them with
     6    pepper spray when the person was just -- while they were
     7    sitting in their car.
     8               As to the issue of the passports, Your Honor, the
     9    defendant also has access to a Palestinian passport because
   10     he's Palestinian as well. The United States has no control
   11     over another country giving him a passport to travel under.
   12                But what was not discussed, however, defense failed
   13     to discuss anything about the obliterated serial number, the
   14     silencer shooting out of the window while under court order
   15     not to commit any new offenses. And the shooting of the
   16     silencer out the back into the neighborhood, if that doesn't
   17     show dangerousness to the community nothing does. And that
   18     certainly was not on the Fourth of July.
   19                Lying to gain U.S. citizen on more than one
   20     occasion. And he never touched anything about the escape
   21     materials. And lastly, his explanation is that well, there
   22     wasn't really a bullet, it was blanks. Your Honor, there
   23     were no blanks found during the execution of that search
   24     warrant on his storage locker, only live rounds were found.
   25     Thank you.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1969    Page 83 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        83

     1               THE COURT: All right. The Court --
     2               MR. DENSEMO: Judge, I just have a couple --
     3               THE COURT: No, you are done. We did it. Thank
     4    you.
     5               The Court has reviewed this matter and the briefs
     6    that have been filed, and listened to the argument today.
     7    And clearly this is not a case where there is a presumption,
     8    but the standard, I believe, is in terms of risk of flight,
     9    clear and convincing, but I think that the standard here for
   10     whether Mr. Ramadan is a danger to the community or a risk of
   11     flight that the Court would use is clear and convincing.
   12                The Court has to take into fact -- into
   13     consideration a number of factors as considered -- or stated
   14     specifically in 3142(g). And the first one is the nature and
   15     circumstances of the offense. Here we know that this is a
   16     firearms case with the obliterated serial numbers. And this
   17     case is serious because of the nature of why do you have
   18     obliterated serial numbers except to avoid tracing these
   19     guns.
   20                We know that the defendant here -- and I think this
   21     is the -- how do I want to say it? This is maybe the
   22     elephant in the room is the terrorism issue, and it is
   23     because the defendant in his properties when they were
   24     reviewed they found over 1,500 ISIS pictures. And the
   25     defendant talks about this being -- you know, he's


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1970    Page 84 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        84

     1    sympathetic to ISIS though he does not believe in their -- in
     2    their desire to use physical force, although his actions
     3    really belie this because we know here in the -- in the
     4    storage locker there were the guns found, there were the
     5    parts of the gun that matched the gun that was stolen, there
     6    were explosives found, and I believe -- we did not talk about
     7    this today but I have read or there was testimony in prior
     8    hearings that the defendant could make a bomb in an hour if
     9    he had the materials. So I think that this makes it a very
   10     serious offense.
   11                In terms of the weight of the evidence, clearly as
   12     the charged crime the evidence is clear and convincing at
   13     this point.
   14                The Court has to look at the history and character
   15     of the defendant, and we know that the defendant was on
   16     probation for a Social Security fraud, and that he received
   17     monies for children that weren't in the country, and that he
   18     was placed on probation. While he was on probation there is
   19     allegations that he stole a firearm, and I think by clear and
   20     convincing evidence those allegations could be proved given
   21     the unique characteristic of that firearm as shown by the
   22     photographs, particularly the side by side photographs of
   23     these two firearms.
   24                We know that the -- there was an issue of stealing
   25     cash or jewelry, and I agree with the defense on that that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1971    Page 85 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        85

     1    there is not proof that this defendant -- in fact, the proof
     2    I guess is to the contrary that the family member took it and
     3    not the defendant, and the Court is not considering that.
     4               In terms of child endangerment -- and by the way,
     5    these are things that the defendant has not been convicted of
     6    or even charged, but the Court must consider all much these
     7    things. Evidently the defendant was either asleep or out or
     8    something while this three-year-old was in an area where
     9    there were narcotics and firearms.
   10                I think the interesting thing is is that there is
   11     here a series of individual events, individual circumstances,
   12     no one circumstance perhaps meets the standard, but the Court
   13     considers all of the circumstances, I look here that there
   14     were narcotics found in the area with the child. Then I see
   15     that there is also a discussion of marijuana and how there
   16     can be -- the defendant can make $16,000 a month. There's
   17     the photographs of the pills which we don't know where those
   18     pills came from, but it is just another circumstance that
   19     this defendant just happens to have these photographs like he
   20     saves everything, and maybe he does, but that tells us a
   21     little bit more about him.
   22                And I think that the -- looking at his
   23     characteristics, as to the children I don't think it is for
   24     the Court to decide what kind of parent he may be, he may be
   25     a wonderful parent, I don't know. But certainly having young


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1972    Page 86 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        86

     1    children, 10 or 11, shooting out of a window. Now we hear
     2    today it is blanks, but we see where the defendant has taught
     3    his children how to these firearms and how to load these
     4    firearms, and I guess that's his parenting style, and I'm not
     5    holding that against him. I certainly don't agree, but if he
     6    wants to teach his children to do this, that's something.
     7    But to show them to shot out of a window on Fourth of July,
     8    yes, lots of people do that, but to have 10 and 11-year-olds
     9    doing that to me is totally irresponsible.
   10                But that has nothing to do with what he's going to
   11     do in terms of being a danger to the community. But I find
   12     by clear and convincing evidence that his shooting out the
   13     window with a silencer on his rifle on a sunny day -- I don't
   14     know if it is the middle of the day but certainly it's got to
   15     be the middle or at least the afternoon or sometime because
   16     the sun was so bright out that window, from an apartment
   17     complex to a residential area shows me that he is clearly a
   18     danger to the community.
   19                In terms of the other things, the credit cards and
   20     all those things he's copied, I don't think the Court even
   21     needs to go into that. The most I can say with that is
   22     taking pictures of the uniform and identification cards of
   23     the Customs officer does give me pause as to what one would
   24     do with that but, again, I find that in and of itself is not
   25     an indication of anything. But I think if you take together


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1973    Page 87 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        87

     1    with everything else it shows clearly that he could use these
     2    things to create a situation where he could, in fact,
     3    impersonate such people and cause havoc in our airports, or
     4    he could create a situation where he could leave the country.
     5               And that raises the issue of whether he's a flight
     6    risk. We know that he's not working. We know that he packed
     7    his family up and they went and bought their tickets and
     8    left -- or attempted to leave on the same day, so he had no
     9    lease. He does have sisters who said they would support him
   10     here, but we know that the wife and children are out of the
   11     country and that he would have a desire to go there.
   12                So I think that there is enough there to say that
   13     he is a flight risk.
   14                The Court also notes that he said at the time of
   15     the interview the guns were at a friend's house when, in
   16     fact, the guns were in a storage locker, although we don't
   17     know, maybe there are guns at a friend's house, that's what
   18     he said. The Court has no reason to totally disregard that.
   19     Again, he indicated he only owned two guns when, in fact, he
   20     owned many more.
   21                So I don't think I need to repeat everything that
   22     was said here, but I do think that when we consider the
   23     clothing that was found in his cell along with the graffiti
   24     on the wall and the fact that he certainly -- he got into a
   25     fight with somebody, and he says in his brief that this was


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18      PageID.1974   Page 88 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        88

     1    because he was protecting himself, and I think it was over a
     2    chair or something like that. But, in any event, to have
     3    this clothing is very concerning to the Court because it does
     4    look like it's an effort that if he had an opportunity to
     5    escape he could take that opportunity.
     6               So considering all of these factors, the Court
     7    finds by a clear and convincing evidence that there is no way
     8    the Court could be assured that he would not be a flight risk
     9    or a danger to the community, so the motion is denied.
   10                Thank you. All right. We will see you in
   11     September. Thank you. Anything else, Counsel?
   12                MR. DENSEMO: Pardon me, Judge?
   13                THE COURT: Anything else?
   14                MR. DENSEMO: No, not at this time.
   15                MR. WATERSTREET: No, Your Honor. Thank you.
   16                THE COURT: Okay. Thank you.
   17                THE LAW CLERK: All rise. Court is in recess.
   18                (Proceedings concluded at 3:41 p.m.)
   19                                      _     _    _
   20
   21
   22
   23
   24
   25


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 98 filed 07/31/18     PageID.1975    Page 89 of 89
                        Evidentiary Hearing/Motion for Bond • July 10, 2018
                                                                                        89

     1                                  CERTIFICATION
     2
     3                   I, Robert L. Smith, Official Court Reporter of
     4    the United States District Court, Eastern District of
     5    Michigan, appointed pursuant to the provisions of Title 28,
     6    United States Code, Section 753, do hereby certify that the
     7    foregoing pages comprise a full, true and correct transcript
     8    taken in the matter of U.S.A. vs. Ramadan, Case No. 17-20595,
     9    on Tuesday, July 10, 2018.
   10
   11
   12
                                      Robert L. Smith, RPR, CSR 5098
   13                                 Federal Official Court Reporter
                                      United States District Court
   14                                 Eastern District of Michigan
   15
   16
   17     Date: 07/30/2018
   18     Detroit, Michigan
   19
   20
   21
   22
   23
   24
   25


                                   U.S.A. vs. Ramadan • 17-20595
